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                  EXHIBIT "D"
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                                                                        Page 1
             UNITED STATES BANKRUPTCY COURT
                 DISTRICT OF NEW JERSEY
                ADV. PRO. NO. 23-1335 JKS
 In Re:                                 :
 National Realty Investment             :
 Advisors, LLC, et al.,
      Debtors.                          :
 AIRN Liquidation Trust Co.,            :
 LLC, in capacity as
 Liquidation Trustee of the             :
 AIRN Liquidation Trust,
      Plaintiff,
       V
 Media Effective, LLC, et
 al.,
       Defendants.


                            -   -   -
  VIDEOTAPED DEPOSITION BY ZOOM VIDEOCONFERENCE OF
                       WILLIAM WALDIE
                  Friday, March 29, 2024
                            -   -   -
            REPORTED BY:      JENNIFER MAUTE, CCR
                            -   -   -




                   MAGNA LEGAL SERVICES
                        866-624-6221
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 1            Transcript of the Videotaped                  1   APPEARANCES:
                                                            2
 2   Videoconference Deposition of WILLIAM WALDIE,                ICE MILLER, LLP
 3   called for Oral Examination in the above-captioned     3     BY: ANECA LASLEY, ESQUIRE
 4   matter, said deposition taken pursuant to Superior             ERICA ARRAS, ESQUIRE
                                                            4     250 West Street, Suite 700
 5   Court Rules of Practice and Procedure by and before          Columbus, Ohio 43215
 6   JENNIFER MAUTE, Certified Court Reporter and Notary    5     Aneca.lasley@icemiller.com
                                                                  Counsel for the Plaintiff
 7   Public for the State of New Jersey, commencing at      6
 8   10:02 a.m.                                             7
 9                                                                OBERMAYER, REBMANN, MAXWELL & HIPPEL, LLP
                                                            8     BY: EDMOND M. GEORGE, ESQUIRE
10                ---                                               MICHAEL VAGNONI, ESQUIRE
11                                                          9       WILLIAM SALDUTTI, ESQUIRE
                                                                  1120 Route 73, Suite 420
12                                                         10     Mount Laurel, New Jersey 08054
13                                                                Edmond.george@obermayer.com
14                                                         11     Counsel for the Defendants, Javier Torres,
                                                                  Media Effective, LLC, Dora Dillman, Javier
15                                                         12     Torres, Jr., Natalia Torres, Paulina Torres
16                                                         13
                                                           14     ALSO PRESENT: John Vitali, Videographer
17                                                         15
18                                                                         - - -
                                                           16
19                                                         17
20                                                         18
21                                                         19
                                                           20
22                                                         21
23                                                         22
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24                                                         24
25                                                         25

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 1               - - -                                      1   Exhibits (Continued):
 2               INDEX                                      2   NUMBER           DESCRIPTION            PAGE
 3               - - -                                      3   Exhibit-13     E-mail           90
 4   Testimony of: WILLIAM WALDIE                           4   Exhibit-14     E-mail           *
 5     By Mr. George          PAGE 9                        5   Exhibit-15     Tanvi Invoices      38
 6                                                          6   Exhibit-16     Revised Deposition    11
 7               - - -
                                                                          Notice
 8             EXHIBITS
                                                            7
 9               - - -
10   NUMBER           DESCRIPTION         PAGE              8   ** (Exhibit-5, Exhibits-7-8, Exhibits-10-12 and
11   Exhibit-1    Declaration         65                        Exhibit-14 were not introduced.) **
12   Exhibit-2    E-mail             68                     9
13   Exhibit-3    E-mail             70                    10
14   Exhibit-4    E-mail             70                    11
15   Exhibit-5    Bill Waldie Profile   *                  12
16   Exhibit-6    Media Effective Summary 102              13
               Activity by Year                            14
17                                                         15
     Exhibit-7     Javier Torres Summary *                 16
18             Activity by Year                            17
19   Exhibit-8     Javier Torres and Media *               18
               Effective Transfers
                                                           19
20             To Investment Accounts
21   Exhibit-9     NRIA Daily Cash Balance 71              20
               January 1, 2016 to                          21
22             June 30, 2022                               22
23   Exhibit-10     William Waldie Resume *                23
24   Exhibit-11     Weekly Radio Campaign *                24
25   Exhibit-12     Weekly Radio Campaign *                25




                                                                                              2 (Pages 2 to 5)
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 1               - - -                                      1                  - - -
 2           DEPOSITION SUPPORT INDEX                       2          THE VIDEOGRAPHER: We are now on record.
 3               - - -                                      3   This begins the Videotape Number 1 in the
 4                                                          4   deposition of William B. Waldie, in the matter of
 5   Direction to Witness Not to Answer                     5   AIRN Liquidation Trust Company, LLC, et al. versus
 6   Page Line Page Line         Page Line                  6   Media Effective, LLC.
 7   62, 17      63, 3      86, 18                          7            Today is Friday, March 29th, 2024.
 8   89, 2      89, 22                                      8   The time is 10:02 a.m. This deposition is being
 9                                                          9   taken remotely at the request of Obermayer,
10                                                         10   Rebmann, Maxwell & Hippel, LLP. The videographer
11   Request for Production of Documents                   11   is John Vitali of Magna Legal Services and the
12   Page Line Page Line        Page Line                  12   court reporter is Jennifer Maute of Magna Legal
13   20, 13     32, 22                                     13   Services.
14                                                         14            Will Counsel and all parties present
15                                                         15   please state their appearances and whom they
16   Stipulations                                          16   represent?
17   Page Line Page Line      Page Line                    17          MR. GEORGE: Edmond George for the
18   None                                                  18   defendants.
19                                                         19          MS. LASLEY: Good morning. Aneca
20                                                         20   Lasley, with Ice Miller. Along with me is Erica
21   Question Marked                                       21   Arras on behalf of the Plaintiff, the AIRN
22   Page Line Page Line      Page Line                    22   Liquidation Trust.
23   None                                                  23          THE VIDEOGRAPHER: We also have William
24                                                         24   Saldutti with us and Javier Torres that are both
25                                                         25   present.
                                                Page 8                                                      Page 9
 1              Will the court reporter please swear        1   okay if we go off record just for a second?
 2   in the witness?                                        2          MR. GEORGE: Sure.
 3            COURT REPORTER: Okay. Sir, raise your         3          THE VIDEOGRAPHER: We're going to go off
 4   right hand, please.                                    4   record. The time is 10:03 a.m.
 5              Do you solemnly swear that the              5          (Whereupon, a discussion was held off
 6   testimony you are about to give will be the truth,     6   the record.)
 7   the whole truth and nothing but the truth?             7          THE VIDEOGRAPHER: We're back on record
 8            THE WITNESS: I do.                            8   at 10:04 a.m.
 9            COURT REPORTER: Great. We can proceed.        9            Counsel, proceed.
10            MS. LASLEY: Ed, before you start, I'm        10   BY MR. GEORGE:
11   sorry, who is William Saldutti?                       11       Q. Good morning, Mr. Waldie. My name is
12            MR. GEORGE: He's my associate. He's          12   Edmond George. I'm with the law firm of Obermayer,
13   here in the room with me and Michael Vagnoni, as      13   Rebmann, Maxwell & Hippel. I'm going to be taking
14   well.                                                 14   your deposition today in connection with a matter
15            MS. LASLEY: Okay.                            15   that was brought by the AIRN Liquidation Trust
16            MR. GEORGE: My partner. You met him in       16   against my clients, Javier Torres, Dora Dillman,
17   Newark.                                               17   the Torres Family and Media Effective. I'm going
18            MS. LASLEY: Yep.                             18   to take your deposition, which means that
19            MR. GEORGE: Are we going to see              19   everything anybody says in this proceeding is going
20   Mr. Waldie, John?                                     20   to be recorded. We're also having a video of you
21            MS. LASLEY: He's on.                         21   taken at this time.
22            MR. GEORGE: I'd much rather look at          22            Have you had your deposition taken
23   Aneca, but --                                         23   before?
24            THE VIDEOGRAPHER: Yeah, I can rearrange      24       A. Yes.
25   it, sir, so that everyone sees him, but would it be   25       Q. How many times?




                                                                                         3 (Pages 6 to 9)
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 1       A. Three.                                          1   that rule.
 2       Q. At any time -- and at any time, were you        2             The other thing is, because everything
 3   a defendant in any lawsuit?                            3   is being recorded, we can't talk at the same time.
 4       A. No.                                             4   I'll try not to talk over you and if you'll kindly
 5       Q. I'm going to try and set some rules out         5   try not to talk over me, that would be great.
 6   for you. I'm going to ask you a series of              6             Do you understand those rules?
 7   questions relating to this case. I'll to try ask       7        A. Yes.
 8   them to you in a straight-forward way. Sometimes       8        Q. Are you under the influence of any drugs
 9   my words get jumbled or I say something and it's       9   or any medication that might affect your ability to
10   inarticulate. If you don't understand it, it is       10   either recall or answer the questions truthfully or
11   important for you to tell me that you don't           11   accurately that I'm going to pose to you?
12   understand it so I can rephrase it in a way in        12        A. No.
13   which you can understand it. If you answer the        13        Q. So, Mr. Waldie, I'm going to start with
14   question, we are going to assume that you heard the   14   Number Exhibit-16, which is your Notice of
15   question, that you understood it and that your        15   Deposition. I want to go to the -- to the document
16   answers are responsive.                               16   request.
17            Do you understand that?                      17             Okay. Mr. Waldie, have you ever seen
18       A. Yes.                                           18   this Notice of Deposition before?
19       Q. It's also important that you answer            19        A. Yes.
20   orally. You can't say um-hum or uh-uh. Those are      20        Q. And did you, personally, make an effort
21   things that could be confused by the reporter or      21   to recover documents?
22   the reader. So it's important that you answer         22        A. I did and my team.
23   affirmatively or negatively to all of the questions   23        Q. I'm sorry?
24   that I ask and that you don't blurt out an answer.    24        A. Me and my team.
25   It's important that you make sure you understand      25        Q. Who is your team?
                                               Page 12                                                      Page 13
 1       A. Staff would have been Rich Bunion,              1   told you ahead of time that he has reviewed every
 2   Christina Keith. Maybe a couple of others, but I       2   financial record of this company that we have. And
 3   know for sure those two.                               3   absent when you asked to produce every single one
 4       Q. So you didn't look for these documents          4   of those, we have agreed and produced to you
 5   yourself, you had your staff do it?                    5   summary charts that cor -- essentially summarize
 6       A. I looked for documents as well. I               6   all of that information that he has reviewed to
 7   looked at what they sent over, but, no, I did not      7   date or analyzed to date. And so, no, not every
 8   pull all the documents together.                       8   document has been turned over to you, but that was
 9       Q. So you didn't look for them, you looked         9   pursuant to what I thought was our agreement.
10   at them after your staff produced them?               10           MR. GEORGE: So, Aneca, we were talking
11           MS. LASLEY: Objection.                        11   about insolvency. Not anything else and so when I
12   Mischaracterizes.                                     12   said --
13           THE WITNESS: On some, yes, but not all.       13           MS. LASLEY: When we talked --
14   BY MR. GEORGE:                                        14           MR. GEORGE: Excuse me. When I talked
15       Q. But not all?                                   15   to you about it, I said, you know, I wanted to know
16       A. Right.                                         16   about, you know, insolvency and when it happened,
17       Q. So did you produce all the documents           17   you said that means every single document, can we
18   you've reviewed in connection with your               18   give you a summary? But we didn't talk about any
19   investigation into the NRIA finances?                 19   of the other documents. I mean, it is what it is.
20       A. Yes.                                           20   I guess we have a disagreement here, but I
21       Q. So there are no other documents that you       21   understand what you're saying.
22   reviewed other than the four that was provided to     22           MS. LASLEY: Yeah. I mean, your
23   me yesterday by Ms. Lasley?                           23   category, Number 1, for example, Ed, "All documents
24           MS. LASLEY: If I could, Counsel, I want       24   you reviewed in connection with the underlying
25   to be clear. I -- we had an agreement. I -- I had     25   investigation into NRIA's finances." I am still




                                                                                      4 (Pages 10 to 13)
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 1   happy today to turn over thousands -- hundreds of      1   not been provided.
 2   thousands of pages of documents to you that reflect    2       Q. And is that balance sheet testing going
 3   those finances. But it was --                          3   on now?
 4           MR. GEORGE: Yes.                               4       A. Yes.
 5           MS. LASLEY: -- my understanding that in        5       Q. And when was that started?
 6   terms of finances we would start with the summary      6       A. A couple weeks ago.
 7   sheets and if there was anything that you wanted to    7       Q. And so was there ever a -- an insolvency
 8   see that fed into those summary sheets, you would      8   analysis for the year 2016 that was completed by
 9   let me know and we would turn those over.              9   your firm prior to the filing of this lawsuit?
10           MR. GEORGE: Okay. And how about --            10       A. No.
11           MS. LASLEY: And if that's wrong, that's       11       Q. Was there an insolvency analysis
12   on me. Not on him.                                    12   completed for 2017 prior to the date of the filing
13           MR. GEORGE: Understood.                       13   of this lawsuit?
14   BY MR. GEORGE:                                        14       A. No.
15       Q. "Any documents showing when NRIA first         15       Q. Was there an insolvency analysis done
16   became insolvent," did you produce documents          16   for 2018 prior to the date of filing this lawsuit?
17   relating to that?                                     17       A. No.
18       A. We -- we produced a -- a summary of a          18       Q. Was there an insolvency analysis done
19   cash balance analysis.                                19   prior to 2019 for this company prior to the filing
20       Q. So --                                          20   of the lawsuit?
21       A. And -- and --                                  21       A. The -- well, going back prior to the
22       Q. Go ahead. I didn't mean to interrupt           22   filing of the lawsuit the cash balance analysis has
23   you. Cash balances?                                   23   been done for quite some time.
24       A. It was a cash balance analysis, but            24       Q. And how about the balance sheet
25   there's ongoing balance sheet testing, which has      25   analysis, that -- was that ever done for 2019?
                                                Page 16                                                     Page 17
 1      A. It's not complete at this time and I am          1   statements, fraudulent bank statements, imperfect
 2   happy to explain.                                      2   records, things got to be validated. This is not
 3      Q. No, you don't have to explain.                   3   like doing an insolvency analysis on a company that
 4            How about 2020, was there one done for        4   wasn't involved in a Ponzi scheme.
 5   2020?                                                  5      Q. Understood.
 6      A. It's in process.                                 6            For 2016, what evidence do you have
 7      Q. And how about for 2021?                          7   that the NRIA was conducting a Ponzi scheme?
 8      A. In process.                                      8      A. For 2016?
 9      Q. Do you have any understanding of why the         9      Q. Yeah.
10   insolvency analysis wasn't completed for these        10      A. On a cash -- on a cash balance analysis
11   years that are in question here prior to a lawsuit    11   what we've done was, we looked over all of the
12   being filed that claimed that the debtor was          12   accounts and looked at the balances day over day.
13   insolvent in each of these years?                     13   Then we extracted the investor contributions net of
14      A. Well, the debtor was insolvent.                 14   redemptions for the period. Based on that, we see
15      Q. I didn't ask you that. Can you answer           15   no -- no later than November 17th, they're under
16   the question I asked you?                             16   water and unable to meet current debt obligations
17      A. We're unwinding a fraudulent enterprise         17   without the use of those investor funds. That does
18   that has over 100 MDs and bank accounts. They do      18   not include indirect contributions from investors
19   not have consolidated financial statements. So we     19   where it went to like title companies and so forth.
20   have the transactional data that now we have to       20   If we take those into account, then we're talking
21   extract because there's no historical year over       21   about another 38 million dollars, which would move
22   year data. So we need to reconstruct that and put     22   the bar back to January of 2016, but they did not
23   that together. That is a massive task.                23   have the cash on hand to meet their debts or pay
24      Q. Okay.                                           24   them.
25      A. When we're dealing with false financial         25      Q. And do you have documents showing what




                                                                                       5 (Pages 14 to 17)
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 1   debts were unpaid in 2016?                             1   BY MR. GEORGE:
 2      A. It's not what's unpaid. It's they would          2      Q. Okay. And was there a time when NRIA
 3   not have been able to pay them. If --                  3   stopped paying debts as they became due?
 4      Q. And how do you know what investor                4      A. Well, again, this is a Ponzi scheme,
 5   cont --                                                5   right, so it's new money --
 6           MS. LASLEY: Please let him finish              6      Q. Well, you keep saying that. I'm not
 7   answering the question.                                7   sure I necessarily agree.
 8           MR. GEORGE: Okay. I thought he was             8           MS. LASLEY: Will you please let him
 9   done.                                                  9   answer?
10   BY MR. GEORGE:                                        10             The question was, was there a time
11      Q. And how did you know what --                    11   when they stopped paying their debts when they came
12           MS. LASLEY: And let him go back,              12   due? That's the question he needs to answer.
13   please, and finish answering the question.            13           THE WITNESS: I don't know the answer
14           THE WITNESS: I said not unpaid. I said        14   because they were not -- they were using investor
15   they were only able to pay because they were using    15   funds to stay afloat. They were desperate to bring
16   investor contributions. Without those new             16   in money, just like --
17   investors they would not have been able to meet       17   BY MR. GEORGE:
18   their current debt obligations.                       18      Q. Well, once -- well, once the investor
19   BY MR. GEORGE:                                        19   money was put in, it wasn't separately segregated,
20      Q. So on day one in 2016 they were                 20   right, it was co-mingled with the debtor's money,
21   insolvent, that's your testimony?                     21   wasn't it?
22           MS. LASLEY: Objection.                        22      A. It's co-mingled. Correct.
23   Mischaracterizes.                                     23      Q. And in your insolvency analysis, did you
24            You can answer.                              24   value any of the other assets other than cash?
25           THE WITNESS: Yes.                             25      A. I told you the insolvency analysis is
                                               Page 20                                                    Page 21
 1   still ongoing. I'm saying, all indications show        1      A. We provided all documents to Counsel.
 2   that they were unable to meet debt obligations as      2   What agreement you had from there, I don't know.
 3   early as 2016.                                         3          MS. LASLEY: I'll represent to you, Ed,
 4       Q. All right.                                      4   you have all those documents. We produced those to
 5       A. Balance sheet tests and insolvency              5   you in re -- in our discovery responses. If you
 6   analysis were taken into account properties, debt      6   want them produced again, they will be duplicate --
 7   and -- and the other factors that go into              7   duplicative of everything we produced.
 8   insolvency is in process. I told you it's because      8          MR. GEORGE: No. I don't want you to
 9   of we're dealing with imperfect and fraudulent         9   produce things twice.
10   records that need to be validated.                    10          MS. LASLEY: Okay.
11           MR. GEORGE: Okay. And, Aneca, I would         11          MR. GEORGE: I just want to understand
12   like him to produce the records from Paragraph 2      12   whether they've all been produced or not.
13   and 3.                                                13          MS. LASLEY: Yeah, you have those.
14   BY MR. GEORGE:                                        14   BY MR. GEORGE:
15       Q. So Number 5, did you produce all the           15      Q. Okay. All documents that Alvarez used
16   documents relating to your analysis of the            16   to determine Media's markup --
17   documents that were provided to you by my clients?    17      A. Yes.
18       A. Ed, can you be a little clearer on that,       18      Q. -- and it's transactions, did you
19   what you're talking about?                            19   produce all those?
20       Q. Number 5, "All documents relating to           20      A. Yes.
21   Alvarez's analysis of the documents received in       21      Q. And what documents would those have
22   response to any 2004 subpoena that relate to Javier   22   been?
23   or Media," did you produce those?                     23      A. It would have been the bank records. It
24       A. The financial analysis? I think --             24   would have been the invoices from Hybrid Media.
25       Q. All the documents. All documents.              25      Q. And that's -- that's the only documents




                                                                                     6 (Pages 18 to 21)
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 1   you looked at to determine markup?                    1      Q. Did you compare the prices that were
 2       A. It's really all that was needed.               2   being charged by Media Effective or -- or Javier
 3       Q. Okay. Did you take any efforts to try          3   Torres to NRIA to the market price for those
 4   to compare the prices that Media was charging to      4   particular advertising times?
 5   the market rate for the advertising time that it      5      A. No. We looked at what Mr. Torres claims
 6   was being billed for?                                 6   he was charging Media Effective. When asked by
 7       A. What I looked at was what Media -- what        7   him, he was misleading and provided false answers.
 8   Hybrid -- you mean Media -- Hybrid Media?             8   And that was not until October of '21, but the
 9       Q. No. I'm talking about Media Effective.         9   market, we did not -- we looked at what was there.
10       A. I looked at what Hybrid Media --              10   We talked to Hybrid Media. We asked them what was
11       Q. Well --                                       11   customary. They told us. And we looked at other
12       A. I'm sorry.                                    12   vendors to see what they were charging on their
13       Q. Go ahead, sir.                                13   markup. All were half to a third of what Mr.
14       A. I looked at what Hybrid Media was             14   Torres charged.
15   charging as a markup and I looked at Mr. Torres'     15      Q. How did you know the other vendors'
16   explanation of what his markup -- he claimed his     16   markup?
17   markup was to NRIA of being the 5 to 15 percent.     17      A. I looked at the invoices.
18   And we did -- we looked at that compared to what     18      Q. Well, how does that show you what they
19   his actual markup was and looked at Hybrid Media's   19   paid for the time?
20   markup, which he said included his fee and he was    20      A. Because they're transparent what their
21   paid by them. We saw no evidence of payments from    21   commission is. It's listed on the face of the
22   Hybrid to Media Effective or Mr. Torres. And         22   invoice.
23   from --                                              23      Q. And did NRIA ever put on the face of
24       Q. Did --                                        24   their invoice what the commission structure or fee
25       A. Go ahead.                                     25   base structure was?
                                              Page 24                                                     Page 25
 1      A. NRIA, why would they do that?                   1   declaration was drafted by me.
 2      Q. I mean -- I'm sorry, Media Effective.           2      Q. Okay.
 3      A. They -- they did that -- oh, Media              3      A. And my -- and my team, as far as doing
 4   Effective, not until they were questioned in          4   some of the QC and so forth on the numbers.
 5   October of 2021. No.                                  5      Q. Do you have any e-mails between you and
 6      Q. Okay. So the entire time for 2016 to            6   trustee's counsel where trustee's counsel provided
 7   2020, are you aware of any agreement or document      7   facts to you that might have been contained in the
 8   that says that time is going to be sold on a          8   declaration?
 9   commission basis?                                     9      A. I have lots of e-mails from the
10      A. I think it says that on his invoice.           10   Trustee's counsel. I don't know what's in those
11      Q. You think that says that on his invoice?       11   e-mails.
12      A. Yeah. I don't recall off the top of my         12      Q. But that's -- can you look at Number 10
13   head.                                                13   specifically and answer that specific question?
14      Q. Okay.                                          14   Did you produce any of those documents?
15      A. If you want to show me a document, I'll        15      A. E-mails between me and -- I did not
16   be happy to --                                       16   produce e-mails between me and privileged
17      Q. No, that's all right.                          17   communications between me and Counsel.
18           Did you provide drafts of your               18            MS. LASLEY: Bill, read the full Number
19   declaration filed by the Trustee?                    19   10 to yourself, first.
20      A. I had my declaration that I provided,          20            MR. GEORGE: Well, that's all right.
21   but we typically just save the new version into a    21   He's answered it. We'll move on.
22   box folder.                                          22             You can go to the next page, Bill.
23      Q. Did the counsel to the Trustee make any        23   Bill, I think that's it, right?
24   changes to your declaration before it was filed?     24   BY MR. GEORGE:
25      A. We talked to them, but, no, the                25      Q. Mr. Waldie, do you know Rick Barry?




                                                                                     7 (Pages 22 to 25)
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 1       A. I do.                                           1   in the last month?
 2       Q. How do you know Rick Barry?                     2       A. Maybe. Not -- not in any great length.
 3       A. He's an investigator that's working on          3       Q. Well, do you have a telephone that you
 4   this matter.                                           4   use to call him with?
 5       Q. And --                                          5       A. Yeah, or we could have been on a Teams
 6       A. Former bureau chief from the New Jersey         6   meeting, you know, with counsel, but I don't know
 7   Bureau of Securities.                                  7   whether or not -- or not it was about this. I can
 8       Q. And do you know him as an investigator          8   probably go back to my time and see whether or not
 9   for the trustee?                                       9   we had a call or a joint meeting and give you the
10       A. Yes.                                           10   exact.
11       Q. Do you know Mr. La Mattina?                    11       Q. Yeah. I'm -- I'm not asking about
12       A. I've met him.                                  12   whether you had a meeting that involved the
13       Q. When did you first meet him?                   13   Trustee's counsel. I'm talking about you and
14       A. I believe it was in May. I don't know          14   Mr. Barry communicating directly without counsel
15   the date offhand, but I -- I met him twice. Once      15   being involved?
16   at a diner and then once in a -- an interview         16       A. It's possible.
17   setting in Coun -- in Counsel's office.               17       Q. Did you provide any facts to Mr. Barry
18       Q. Are you saying May of '23?                     18   about the markup that Media Effective was charging
19       A. Yes.                                           19   NRIA?
20       Q. Now, Mr. Barry, when was the last time         20       A. We would have talked about that at some
21   you communicated with Mr. Barry?                      21   point, yes.
22       A. A couple of weeks ago maybe on a call on       22       Q. And you're aware, aren't you, that
23   -- on -- on this -- not this particular matter, but   23   Mr. Barry was in almost constant communication with
24   on an NRIA matter, but not this one.                  24   Mr. La Mattina, are you aware of that?
25       Q. Have you spoken to him about this matter       25       A. I --
                                                 Page 28                                                  Page 29
 1          MS. LASLEY: Objection.                          1   where it was asked in a way of -- of would it
 2   Mischaracterizes the facts.                            2   surprise you to know that Media Effective charged
 3            You can answer.                               3   30 plus percent? And then if I recall correctly,
 4          THE WITNESS: I don't know. I know he            4   Mr. La Mattina said it wouldn't surprise me.
 5   had been in contact. I don't know about constant       5   Outside of that, when we were sitting, you know,
 6   contact, or how many times he spoke to him, or what    6   in this --
 7   they talked about.                                     7       Q. Okay.
 8   BY MR. GEORGE:                                         8       A. -- I don't know of any other
 9      Q. Can you preclude as a possibility that           9   conversation.
10   the information that you gave to Mr. Barry about      10       Q. All right. So now you do recollect a
11   the markup that Media Effective was charging may      11   specific meeting with Mr. La Mattina where the
12   have been provided by Mr. Barry to Mr. La Mattina     12   markup was mentioned by you to him, right?
13   for inclusion in his declaration?                     13       A. I said -- no, that was not me who said
14      A. No.                                             14   that. I recall that being said. I don't know who
15          MS. LASLEY: Hold please. Court                 15   said it or how that came up.
16   Reporter, could you please read that question back?   16       Q. You were in the room, though?
17                  - - -                                  17       A. Yes.
18          (Whereupon, the pertinent portion of the       18       Q. And who were the other people in the
19   record was read.)                                     19   room?
20                  - - -                                  20       A. Counsel, and -- and Rick Barry and
21          MS. LASLEY: Object to form.                    21   Glenn La Mattina.
22            You can answer.                              22       Q. Counsel to the Trustee?
23          THE WITNESS: I don't have any knowledge        23       A. Yes.
24   of him providing information to him to put in his     24       Q. So counsel to the Trustee, you and
25   declaration. It may have come up in an interview      25   Mr. Barry were in a room with Mr. La Mattina where




                                                                                     8 (Pages 26 to 29)
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 1   the markup issue came up and Mr. La Mattina was        1      Q. I didn't ask you that. Both of those
 2   present, right?                                        2   things that men -- were mentioned in that meeting
 3       A. I believe that it was a question, would         3   ended up in his declaration, right?
 4   it surprise -- would it surprise you if and he's       4      A. I haven't read his declaration, but I
 5   like it -- it wouldn't surprise me.                    5   can tell you that the meeting wasn't about what he
 6       Q. And what were the reasons why you said          6   could put in his declaration. It was an interview
 7   it wouldn't surprise him?                              7   about all of the work he had done at NRIA to
 8       A. I didn't say that.                              8   include his interactions with or knowledge of Media
 9       Q. What were the reasons that he said that         9   Effective and Javier Torres.
10   it wouldn't surprise him -- surprise him?             10      Q. No, but I thought you said the last time
11       A. Because he said that nine out of ten           11   you saw Mr. La Mattina may have been last May; is
12   times Mr. Torres' invoices were higher than           12   that correct?
13   everybody else. That when he put out bids, he         13      A. No. First time.
14   would get bids back and Mr. Torres' was always        14          MS. LASLEY: Mischaracterizes his
15   substantially higher than everyone else.              15   testimony.
16       Q. And was this a meeting that you had to         16            You can answer.
17   discuss what was going to go into the declaration,    17          THE WITNESS: That was the first time.
18   because it appears that both of those statements      18   BY MR. GEORGE:
19   appeared, nine out of times ten -- nine out of ten    19      Q. That's the first time, last May. And
20   times he was higher and the markup was 31 percent?    20   when was the last time you saw him?
21       A. Well --                                        21      A. I think it was January 11th of this
22       Q. Both of those appeared in his                  22   year.
23   declaration, right?                                   23      Q. Oh, right before he filed his
24       A. I definitely know he said nine out of          24   declaration and you filed your declaration, right?
25   ten times.                                            25      A. That's the date. Yeah, I think mine was
                                               Page 32                                                    Page 33
 1   like the 17th or 18th.                                 1       A. No.
 2       Q. And at that meeting that you had, is            2       Q. You're an FBI agent, former?
 3   that where the markup was discussed, in January of     3       A. A retired FBI agent.
 4   this year?                                             4       Q. When did you last work for the FBI?
 5       A. The -- his knowledge of it being nine           5       A. I retired February 28th, 2013.
 6   out of ten times was discussed.                        6       Q. Are you a vet?
 7       Q. And how about the markup? I'm asking            7       A. No.
 8   about the markup. Not nine out of ten.                 8       Q. I thought I saw on your resume you were
 9       A. I'm telling you, I vaguely recall that          9   in Afghanistan. Not connected to the military?
10   part. I think that's how that went.                   10       A. I deployed to both Iraq and Afghanistan.
11       Q. You're an FBI agent --                         11   I volunteered to go there where I worked with the
12       A. I went back and -- I went back and I           12   military. I was an interrogator in Iraq, Al-Qaeda.
13   checked my notes. I did not see any of that in my     13   Whoever we captured, artil (ph) capture missions,
14   notes. My notes clearly talk about the nine out of    14   my job was to break them down and interrogate them.
15   ten times of him being substantially higher. That     15   I ran a kidnapping unit in Afghanistan with a major
16   I can tell you for sure happened. The others          16   crimes task force.
17   potentially may have happened if Rick or somebody     17       Q. Have you ever worked for an advertising
18   would have asked it. I don't -- I can't sit here      18   agency?
19   and tell you 100 percent sure that's what happened.   19       A. No.
20       Q. Do you -- do you have those notes?             20       Q. Have you ever been in a situation where
21       A. Yes.                                           21   as part of your job you reviewed the operations of
22           MR. GEORGE: Aneca, I'm going to ask           22   an ad agency?
23   that you produce those notes.                         23       A. Outside of this, no.
24   BY MR. GEORGE:                                        24       Q. Yeah, outside of this, obviously. No.
25       Q. You're not a lawyer, are you?                  25            Have you ever held yourself out as a




                                                                                     9 (Pages 30 to 33)
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 1   person with special expertise in the advertising       1       Q. Have you ever been in any kind of
 2   agency space?                                          2   business other than the current business that
 3      A. No.                                              3   you're in?
 4      Q. Have you ever bought or sold advertising         4       A. Yeah. I was in the FBI for 24 years.
 5   time?                                                  5       Q. No. I meant, have you ever been in your
 6      A. No.                                              6   own business? I'm sorry.
 7      Q. Have you ever bought or sold advertising         7       A. No. I was a -- an internal auditor and
 8   time on radio?                                         8   a controller for a company that owned nursing homes
 9      A. I think that would be, I've never bought         9   throughout New Jersey after I got out of college
10   or sold advertising time.                             10   before going into the FBI.
11      Q. Do you know the difference between a            11       Q. Well, in your experience in life, do
12   fee-based and commission-based compensation           12   your vendors share their markup with you? In other
13   structure when it comes to advertising sales?         13   words, if you hire a plumber to come into your
14      A. I'm not -- I'm not an advertising               14   house, does he share his markup or does he just
15   expert.                                               15   give you a bill?
16      Q. Have you reviewed any treatises or              16       A. It's not markup. It's just labor. It's
17   learned documents on markups for advertising time?    17   a labor rate, yeah, he tells me how much he charges
18      A. No.                                             18   an hour.
19      Q. And would it be fair to say then that           19       Q. And if he buys a toilet, do you know
20   your declaration doesn't turn at all on your          20   that he bought that toilet and gave it to you at
21   understanding of the advertising space, but merely    21   the price he bought it at or maybe he marked it up,
22   on your assessment of financial documents in the      22   do you know?
23   case?                                                 23       A. Usually you buy your own toilet and then
24      A. It's based on financial documents,              24   they --
25   correct.                                              25       Q. Well, no. Let's say he supplies you
                                               Page 36                                                    Page 37
 1   one.                                                   1      A. Depending on if the value he charged me
 2           MS. LASLEY: Objection. Counsel, you've         2   was commensurate with the product he was providing.
 3   got to let him finish responding before you jump       3      Q. Okay. Fair enough.
 4   back in.                                               4            Have you ever read any articles about
 5   BY MR. GEORGE:                                         5   ethics in advertising?
 6      Q. Let's assume he supplied you one,                6      A. In advertising, no.
 7   Mr. Waldie. Not that you bought your own.              7      Q. Yeah.
 8      A. Okay.                                            8      A. No.
 9      Q. Do you ask your plumber how much did you         9      Q. Did you ever review the bills that were
10   pay for that toilet that you're charging me X         10   being presented by Renascent Enterprises to the
11   dollars for?                                          11   debtor for payment?
12      A. Yes. I bought a generator and that was          12      A. Some of them, yes.
13   the question I asked. So I paid what they paid and    13      Q. Was there detail about the times and
14   then the labor was what they made. Of course I        14   frequency of the advertisings that were running
15   ask. I want to know if I'm getting what I'm paying    15   through Renascent in their bills?
16   for.                                                  16      A. If I recall, they would say what they
17      Q. Okay. And if you didn't ask and you             17   advertised and there would be a fee and then on the
18   just paid for it, would that be a fraud on you?       18   bottom of their invoice it said agency fee and a
19      A. If I didn't ask?                                19   percentage so they broke it out. They were
20      Q. If you didn't ask whether there was a           20   transparent in what they were making.
21   markup and you paid the bill, would that be a fraud   21      Q. No, that's not what I asked you. I
22   perpetrated on you?                                   22   asked you, did they disclose how many times that
23           MS. LASLEY: Object to form.                   23   they ran and what times they ran in the bills?
24   BY MR. GEORGE:                                        24      A. I don't know off the top of my head. If
25      Q. You can answer it.                              25   you want to show me a bill.




                                                                                    10 (Pages 34 to 37)
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 1       Q. Sure. Let's go to 15. Can you see               1   and what times they ran?
 2   that, Mr. Waldie?                                      2      A. No. Just the date range.
 3       A. Yes.                                            3      Q. So can you tell how much Renascent --
 4            MR. GEORGE: Roll it down, Bill, so he         4   Renascent Enterprises paid for the time that they
 5   can see the entries.                                   5   charged NRIA from this document?
 6   BY MR. GEORGE:                                         6      A. Well --
 7       Q. Now, do you see there, is there any             7      Q. Not the commission. Not the commission.
 8   indication about how many times those ads ran and      8   How much they actually paid for the time that they
 9   what the rate was? You see quantity and rates          9   passed onto NRIA?
10   empty in those boxes, right?                          10      A. Not from this document.
11       A. I don't what support was behind this, if       11      Q. Well, have you ever seen any document
12   -- if at all. But on the cover here I see what        12   that showed what Tanvi Chandra or Renascent
13   they charged for the Bolly Radio and Radio Campaign   13   Enterprises were actually paying for the time that
14   in totals and then like I told you before, agency     14   they were providing to NRIA?
15   fee is 15 percent on this one. The one I recall       15      A. I have not done an analysis of Renascent
16   was 11 percent.                                       16   or Tanvi Chandra's billings.
17       Q. Now, sir, now you can try to answer the        17      Q. Well, are you aware that on a number of
18   question I asked you. Is there any indication how     18   occasions that Javier Torres was able to beat the
19   many times these ads ran, when and where?             19   price that Tanvi was offering for advertising by 50
20       A. No.                                            20   percent?
21            MR. GEORGE: And can you go to the next       21      A. I have not seen anything to that effect.
22   page, Bill?                                           22      Q. Have you heard about that?
23   BY MR. GEORGE:                                        23      A. Just now.
24       Q. How about the second page of 15,               24      Q. You never heard that before?
25   anything there to show how many times the ads ran     25      A. That he beat them by 50 percent?
                                               Page 40                                                     Page 41
 1      Q. Right.                                           1   ten to twelve, did you see that on the bills?
 2      A. With a 36 percent markup, I find that            2       A. I've seen some of his invoices. There
 3   hard to believe, but --                                3   was very few provided. We've done some independent
 4      Q. Okay. I'm just asking -- I'm not asking          4   looks into seeing what's out there, but you know,
 5   for your belief, sir. I know you're an FBI agent,      5   I'd have to look at his invoice.
 6   you distrust everything everybody says but I'm just    6       Q. Well, when you say there have been very
 7   asking for facts in this deposition. Okay?             7   few provided, are you aware that early in this
 8          MS. LASLEY: Move to strike.                     8   case, early in January, I believe it was, that
 9   BY MR. GEORGE:                                         9   Javier Torres produced every single invoice that he
10      Q. You understand? I just want facts. I            10   had and -- and -- and tracked it to every check
11   don't want your speculation. I don't want your        11   that NRIA -- wait. When you say he didn't produce
12   biases. I don't want your opinions. I want facts.     12   any invoices, are you sure that that's true?
13          MS. LASLEY: Again, move to strike.             13       A. No. Those invoices, yeah. I -- I --
14   Object. Argumentative. That's not even a              14   his invoices. Are you talking his invoices? We've
15   question.                                             15   got those --
16          THE WITNESS: I -- I have not seen --           16       Q. Yeah. You said he didn't provide all
17          MS. LASLEY: There's not a question.            17   his invoices and I'm suggesting he provided all of
18   BY MR. GEORGE:                                        18   his invoices.
19      Q. Do you know whether the NRIA documents          19       A. I don't know if it was all of the
20   that he provided, Javier or Media Effective           20   invoices. I'm trying to -- I'm trying to remember
21   provided to the -- to NRIA showed the times that      21   what was on there. It was the amounts he was paid
22   the ads were actually running?                        22   and a Hybrid invoice I recall, but I don't know if
23      A. The dates you mean?                             23   it was all of his invoices. It was all of his
24      Q. The -- the actual frequency. You know,          24   payments.
25   ten times at -- at nine to ten, fifteen times at      25       Q. So if I were to tell you that the bills




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 1   for Media Effective to NRIA contained -- contained    1   for each campaign.
 2   the times and frequencies of the showing of the --    2       Q. But you don't see how many times the ads
 3   of the commercials on the advertisement, you          3   ran. It's the same question as before, sir. Do
 4   wouldn't have any reason to dispute that sitting      4   you want me to --
 5   here today, right?                                    5       A. I --
 6       A. If they're there, they're there.               6       Q. -- just go through all --
 7       Q. I'm just saying you didn't see any             7       A. I can --
 8   invoices in your review of the production that we     8       Q. -- nine questions or do you want to just
 9   made back in January that -- that didn't have that    9   answer that question?
10   kind of information on it?                           10       A. I don't see the time that they ran.
11           MS. LASLEY: Object to form.                  11       Q. Okay. How many times have you testified
12           THE WITNESS: Again, you know, put one        12   in court?
13   in front of me. I'm going on memory.                 13       A. I have no idea. A lot.
14           MR. GEORGE: Okay. Bill, can you go           14       Q. Dozens?
15   through the rest of those?                           15       A. I -- I don't count. I -- I don't know
16   BY MR. GEORGE:                                       16   about dozens, but you know, a lot of times, you
17       Q. And I'm just going to ask you the same        17   know, people don't go to trial when they're
18   question with respect to those remaining invoices.   18   indicted on the fed -- in -- on the federal level,
19   And I'll represent these were produced by your       19   but eight, ten, twelve times testifying in trial.
20   lawyer and attached to a deposition. Do you see      20   Dozens of times testifying in grand jury.
21   that these are all the same in the respect that      21       Q. Over how many years?
22   there's not any information about the quantity or    22       A. Twenty-four. Twenty-three years, eleven
23   rate?                                                23   months.
24       A. On the break -- yeah. I -- I see the          24       Q. Have you ever seen any learned treaties,
25   date range and I see the names and totals for --     25   any industry periodicals that state that the fee
                                               Page 44                                                    Page 45
 1   structure commission had to be in a writing?          1      A. It -- it was -- we have a list of them
 2       A. I have not looked at --                        2   broken out.
 3       Q. Have you ever seen a written agreement         3      Q. So if Media Effective was paid between
 4   between either Media Effective and Javier Torres      4   34 and 36 million, that would mean almost
 5   and -- on one side and NRIA on the other side that    5   50 million dollars was spent in other advertising
 6   set forth that there would be a commission charge     6   campaigns, right?
 7   as opposed for a fee-for-service charge?              7      A. 36-and-a-half million went to Media
 8       A. Not that I recall.                             8   Effective. The difference --
 9       Q. Would you agree that NRIA spent                9      Q. Okay.
10   84 million dollars on advertising?                   10      A. -- of the 84 would have gone to others,
11       A. Approximately, yes.                           11   correct.
12       Q. And do you know who the other vendors         12      Q. The question is: Would you agree that
13   were?                                                13   after you take into account what Media Effective
14       A. For advertising?                              14   was paid, that there were over 50 million dollars
15       Q. Yes.                                          15   in other expenses related to advertising?
16       A. I can check. Yeah, I -- you know,             16      A. Probably just shy of 50 million.
17   besides Media Effective it was 43 percent of that    17      Q. And that was money to people other than
18   budget. And we -- yeah. We have -- we have a list    18   Javier Torres and Media Effective, right?
19   somewhere, but some were, like, iHeart Radio, you    19      A. Yes.
20   know, Fox. It -- it was some of the actual           20      Q. And did all of those people who ran
21   advertisers direct.                                  21   those ads, did they aid and abet NRIA and the
22       Q. And so --                                     22   fraud?
23       A. And --                                        23          MS. LASLEY: Objection. Calls for a
24       Q. I didn't mean to interrupt you. Go            24   legal conclusion and I would also instruct not to
25   ahead.                                               25   disclose any work product privilege.




                                                                                   12 (Pages 42 to 45)
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 1   BY MR. GEORGE:                                         1           MS. LASLEY: Objection. Calls for a
 2       Q. Go ahead, sir.                                  2   legal conclusion. Outside the scope.
 3       A. Well, Nick -- the fact that Nick Salzano        3   BY MR. GEORGE:
 4   pled guilty to a Ponzi scheme and said that they       4      Q. You can answer.
 5   used false and misleading advertisers to attract       5      A. I think the intent would be presumed
 6   investors into a company that purported to be          6   based on --
 7   profitable when in actuality they were making no       7      Q. Oh.
 8   money, that fact coupled with the fact that Ponzis     8      A. -- a Ponzi finding.
 9   are inherently insolvent. So if a Ponzi is             9      Q. All right. And you said that --
10   inherently insolvent from the outset based on that    10      A. The --
11   plea, then any transfers made from that point         11      Q. Oh, I'm sorry. I didn't know you
12   forward would be in furtherance of the scheme. So     12   weren't done. You said the intent would be
13   --                                                    13   presumed based on what?
14       Q. So that -- would --                            14      A. The debtor's actions that they were
15       A. So as of February of '18, anything based       15   running a Ponzi scheme.
16   on the lead target in this -- the leader organizer    16      Q. So anybody that dealt with the debtor
17   of this Ponzi scheme saying that it was a Ponzi       17   after that date would aid and abet in the Ponzi
18   scheme, anything from that date based on his          18   scheme, right? It doesn't matter whether they knew
19   admission in court would be in furtherance of the     19   whether there was a Ponzi scheme going on or not,
20   scheme.                                               20   any dollar that came out the door after -- after
21       Q. Would be in furtherance of the fraud.          21   Mr. Salzano said he was running a Ponzi scheme,
22   But don't you have to share the intention of the --   22   every one of those would be the people who aided
23   of the -- of the person committing the Ponzi scheme   23   and abetted in the -- in the securities fraud,
24   to aid and abet?                                      24   right?
25       A. Okay.                                          25           MS. LASLEY: Same objection. Calls for
                                               Page 48                                                    Page 49
 1   a legal conclusion and outside the scope.              1   prosecution here. This is --
 2           THE WITNESS: What -- what it would mean        2        Q. Okay. I'm just asking.
 3   is that they were -- that they were fraudulent         3        A. You know, so beyond a reasonable doubt
 4   transfers and money they would get --                  4   you're confusing two different legal terms. I'm
 5   BY MR. GEORGE:                                         5   not a lawyer, but you want me to ask a question
 6       Q. Okay.                                           6   about convicting somebody for saying that somebody
 7       A. -- in furtherance of a scheme.                  7   was involved in a scheme who was profiting off of
 8       Q. But I'm not talking about the fraudulent        8   the victims.
 9   transfers, sir. Fraudulent transfer don't              9        Q. So you can't answer the question?
10   necessarily require any intent. What I'm asking       10        A. Of aiding and abetting?
11   you, and you're an FBI agent, right, so you've been   11        Q. Yes.
12   involved in the prosecution of Ponzi schemes,         12        A. About who? Give me -- give me who do
13   right?                                                13   I --
14       A. I have.                                        14        Q. I'm saying, you're saying that anybody
15       Q. You've been involved in the prosecution        15   who got a dollar out of this company after 2018
16   of securities violations, haven't you?                16   received a fraudulent conveyance, right?
17       A. More on the -- I've worked on securities       17        A. I'm not saying anybody who got a dollar.
18   cases, yes.                                           18   If you're going to say, well, they paid their cable
19       Q. Okay. And what I'm asking is, from your        19   bill so the cable company is, you know, committing
20   experience as an FBI agent involved in the            20   fraud, no. I'm talking about people who were
21   prosecution of a security frauds case, have you       21   involved in helping them do things like promoting
22   ever seen someone prosecuted for aiding and           22   through false and misleading advertising, then,
23   abetting a securities fraud who didn't have           23   yeah.
24   knowledge of the wrongful intent?                     24        Q. Okay. So you said that Mr. Salzano
25       A. Well, we're not talking about                  25   admitted to using false advertisers or




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 1   advertisements?                                       1      A. Right. And I'm talking about if -- you
 2       A. False and -- false and misleading              2   can charge what you want to charge if you're
 3   advertising.                                          3   transparent about what you're charging, but you
 4       Q. Advertisements?                                4   can't mislead and say you're charging one thing and
 5          MS. LASLEY: He said advertising.               5   then charge the other. Yeah, it will be fraud.
 6   BY MR. GEORGE:                                        6      Q. Okay. So prior to 2021, when you said
 7       Q. Oh, so you're not referring to -- to           7   that the commission was stated, did you see any
 8   people who ran the -- the -- the ads, you're          8   documents where Javier or Media Effective were
 9   talking about the actual content of the ads?          9   misrepresenting about what they were charging?
10       A. Correct.                                      10      A. It wasn't asked.
11       Q. So if your view that the average              11      Q. Prior to 2021, did you see any documents
12   commissions is between 15 and 18 or 20 percent,      12   where he was misrepresenting what he was charging?
13   would it be a fraud to charge 25 percent?            13      A. It -- it wasn't broken out.
14       A. It can --                                     14      Q. Sir, prior to 2021, did you see any
15          MS. LASLEY: Objection. Complete               15   documents where he misrepresented what he was
16   hypothetical.                                        16   charging?
17          MR. GEORGE: Yeah. If you're lying             17      A. I have not.
18   about what you're really charging, yeah.             18      Q. Sorry?
19   BY MR. GEORGE:                                       19      A. No. I saw a total on his invoice.
20       Q. I didn't ask you about if you were            20   That's what I saw.
21   lying. I'm asking you, if the average commission     21      Q. Okay. Have you ever heard the term
22   is 15 or 20 percent and I charge 25, is that a       22   "card rate?"
23   fraud? I'm not asking about what my intention is.    23      A. The term what?
24       A. You're -- you're saying a hypothetical.       24      Q. Card rate.
25       Q. Yeah.                                         25      A. Card rate?
                                                Page 52                                                   Page 53
 1       Q. Yeah. C-A-R-D.                                 1       A. Yes.
 2       A. Yeah. There's -- yes. So it's standard         2       Q. And you know what remnant time is?
 3   rates I would say.                                    3       A. Yes.
 4       Q. And when did you first learn about the         4       Q. What is it?
 5   card rate, in the last few days?                      5       A. It's leftover time, last minute time,
 6       A. No. I -- I've heard that in other              6   time others didn't want. It's kind of, you know,
 7   industries, as well. There's rate cards. You're       7   equivalent of wanting floor seats at a basketball
 8   talking about a rate card, right?                     8   game, but you don't want to pay full rates. You
 9       Q. Right.                                         9   wait until about an hour before the game and hope
10       A. Advertising is not the only industry          10   something is available and you take what you get.
11   with rate cards.                                     11       Q. And -- and that's something you probably
12       Q. Okay. And did you compare any of the          12   know something about, for example, for the airline
13   prices that NRIA -- that Media Effective or Javier   13   industry, right, where as you get closer to the
14   charged NRIA to the rate cards that existed at the   14   flight if the plane is not full, there are
15   time?                                                15   companies like Trivago or other places that will
16       A. I did not.                                    16   buy a block of seats on that plane and they'll have
17       Q. Okay. And you said you've seen those in       17   bought it at a substantial discount because of
18   other industries. You'd agree that rate cards,       18   proximity to the flight; have you heard of that?
19   that essentially the retail price that they would    19       A. No. I've typically had the opposite
20   charge someone to come in and buy that time?         20   affect on that, if you wait until the last minute,
21       A. Well, I'm not sure how it works in            21   you pay much more.
22   advertising, but rate cards would be this is the     22       Q. Okay. Did you ever compare the overall
23   rate we charge for the service we offer.             23   rate -- the overall charges that Media Effective or
24       Q. Have you ever heard of people purchasing      24   Javier charged NRIA to the other effective rates
25   -- purchasing remnant time?                          25   that the other vendors providing advertising time




                                                                                   14 (Pages 50 to 53)
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 1   provided?                                             1      A.     In advertising?
 2       A. Overall, no. I -- what we looked at was        2      Q.     Anywhere.
 3   what Hybrid Media, which was 94 percent of his        3            MS. LASLEY: Objection. Outside the
 4   spend, what they charged.                             4   scope.
 5       Q. Okay.                                          5          THE WITNESS: I -- I don't know all of
 6       A. We looked at it in comparison to what          6   the margin rules on all businesses across the
 7   Mr. Torres charged NRIA.                              7   board.
 8       Q. Right. But I'm asking about the other          8   BY MR. GEORGE:
 9   vendors to NRIA. Not the people that Mr. Torres or    9      Q. When you need to get ahold of Mr. Barry,
10   Media Effective were purchasing from.                10   how do you reach him?
11       A. We're looking at several different            11      A. Cell phone.
12   things in this project. As far as who charged what   12      Q. Sorry?
13   when, off the top of my head, we -- you know, it's   13      A. By mobile. Usually I call his cell.
14   -- if there's a vendor or there's somebody -- so,    14      Q. What's his phone number?
15   yeah, as far as what some vendors have charged       15      A. Can I get it from my phone?
16   compared to others, yeah, that -- that has come up   16      Q. Sure.
17   in this case.                                        17          MS. LASLEY: Just for the record,
18       Q. I'm asking, did you do any analysis that      18   Counsel, we'll object to any contact with Mr. Barry
19   compares the rates charged by other vendors of       19   that doesn't go through counsel.
20   advertising time to those that were provided by      20          MR. GEORGE: Understood.
21   Javier and Media Effective under their fee for       21          THE WITNESS: (732) 503-5540.
22   service arrangement?                                 22   BY MR. GEORGE:
23       A. No.                                           23      Q. Do you ever e-mail him?
24       Q. Do parties have to disclose their             24      A. Yeah. We've -- we've have had -- we've
25   margins to deal with each other at arm's length?     25   had e-mails.
                                               Page 56                                                    Page 57
 1      Q.    Do you know his e-mail address?              1       A. I -- I don't know.
 2      A.    Rwbarryconsulting@gmail.com.                 2       Q. Well, more than ten?
 3      Q.    Thank you.                                   3       A. Yeah, more than ten.
 4            You mentioned earlier on in your             4       Q. More than a hundred?
 5   testimony that you reviewed hundreds of thousands     5       A. Probably.
 6   of documents or were in the process of -- and I --    6       Q. More than a thousand?
 7   and maybe I'm misstating it. It may have been your    7       A. No.
 8   counsel to the Trustee said there were hundreds of    8       Q. Have you or anyone in your staff ever
 9   thousands of documents. So let me start over.         9   seen any competitive bid analyses that were
10            How many documents would you say            10   conducted by the debtor when reviewing the
11   you've reviewed in connection with this matter?      11   advertising bids?
12       A. NRIA, the NRIA matter?                        12       A. I have not. Whether staff has, it's not
13       Q. Yeah. In connect with the NRIA matter.        13   something that I've seen.
14       A. I -- I don't know. There's thousands of       14       Q. Well, wouldn't that be important to know
15   documents. I don't know.                             15   that these things were being competitively bid?
16       Q. Ten -- tens of thousands?                     16       A. For what? For what purpose?
17       A. I don't review all of those documents.        17       Q. You don't think it's important?
18   I have staff that does all of the review. I review   18       A. For this here?
19   after certain levels when we get there. I'm not      19       Q. Yeah.
20   doing the deep dive into everything. You know, we    20       A. I have not seen the bid documents.
21   -- we leverage our staff for that.                   21       Q. Well, that's not what I asked you. Try
22       Q. I get it.                                     22   to answer -- answer what I asked.
23            Now, how about with respect to this         23       A. If they're competitively bid?
24   individual adversary, how many documents did you     24       Q. Yeah. These things that are --
25   review in connection with this?                      25       A. Depends on --




                                                                                   15 (Pages 54 to 57)
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 1       Q. -- competitively bid, would that be             1   paid through the advertising purchases and on the
 2   important to you?                                      2   fee based arrangement, have you ever seen any
 3       A. It could be, depending on whether or            3   documentation to show that Javier or Media
 4   not, you know, these were really competitively bid,    4   Effective got money from any other place that
 5   if there was insider leaks, if there was bid           5   originated from NRIA?
 6   rigging, if, you know, whatever -- whatever it may     6       A. All of his money came from NRIA. Well,
 7   be.                                                    7   the majority of it. Is that the question?
 8       Q. Have you ever seen any documentation            8       Q. I'm asking you, other than the money
 9   that indicated that either Javier or Media             9   that came through the advertising purchases, have
10   Effective were kicking back money to either Ray       10   you ever seen any checks or monies coming from NRIA
11   Grabato or Nick Salzano?                              11   to either Javier or Media Effective that weren't
12       A. I have not.                                    12   for that -- that fee based service provider being
13       Q. Have you ever seen any documentation           13   provided?
14   that showed that either Javier or -- or Media         14       A. The checks we've seen were all in
15   Effective were providing money to family members of   15   connection with the invoices provided.
16   Salzano or Grabato?                                   16       Q. Is your position that Javier and Media
17       A. I have not.                                    17   Effective were overcharging NRIA?
18       Q. Have you ever seen any evidence that           18       A. I believe NRIA did not get commensurate
19   other than the advertising money that Mr. Javier      19   value for what Javier Torres purported to be doing
20   Torres or Media Effective were secreting money away   20   for the money.
21   from the bankruptcy estate?                           21       Q. And why did it not get reasonable value?
22           MS. LASLEY: I'm sorry. Will you --            22       A. Because I don't know what he did.
23   will you repeat that question or have it read --      23       Q. Well, did anybody try interview him or
24   BY MR. GEORGE:                                        24   ask him?
25       Q. Right. Other than the money that was           25       A. Mr. Torres?
                                                Page 60                                                   Page 61
 1      Q. Yeah.                                            1       A. No.
 2      A. He is represented by counsel. I can't            2       Q. Did Mr. Barry, the securities exchange
 3   interview him.                                         3   investigator, did he reach out to him?
 4      Q. I understand that, but how about early           4       A. Not that I know of.
 5   on when the subpoena was issued, did anybody try to    5       Q. Does Glenn La Mattina sound like an
 6   reach out to him and ask him what he was doing?        6   honest guy to you?
 7      A. I believe he was represented.                    7       A. Glenn La Mattina?
 8      Q. He wasn't represented before he got a            8       Q. Yeah, Glenn La Mattina.
 9   subpoena, was he, sir?                                 9       A. I've got two meetings with Glenn
10          MS. LASLEY: Objection.                         10   La Mattina and we asked him questions. Do I think,
11          THE WITNESS: I don't know. I think he          11   you know, that he was completely transparent on
12   was represented.                                      12   everything? I don't know.
13   BY MR. GEORGE:                                        13       Q. Well, you're an FBI agent, sir. You
14      Q. So your answer is that nobody reached           14   don't have to gild the lily with me. You came out
15   out to him, other than through the subpoena, to ask   15   of that meeting with him with a feeling about his
16   him what he was doing?                                16   credibility, didn't you?
17      A. I still believe he was represented by           17       A. Which meeting?
18   counsel, but I could -- I could be wrong.             18       Q. The meeting you had with Mr. La Mattina
19      Q. Fair enough.                                    19   that you were just talking about 30 seconds ago.
20            But you would agree with me that no          20       A. Which meeting? I had two.
21   one reached out to him prior to issuing him a         21       Q. I don't care. I'm asking you, did you
22   subpoena to try to find out what he was doing?        22   come out of either of those meetings with a feeling
23      A. I didn't reach out to him.                      23   about his credibility?
24      Q. Okay. And you don't know of anybody             24       A. Well, I can tell you in the first
25   else that reached out to him, do you?                 25   meeting we did not go into a lot of areas, as if




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 1   anybody you interview the first time is not going      1   questions that get into other areas of this
 2   to give you everything. But he did give us a lot       2   investigation and that is our work product and I
 3   of verifiable information that happened at NRIA.       3   would instruct him not to answer.
 4       Q. And you still didn't answer my question.        4           MR. GEORGE: Okay.
 5   Did you, personally, come out of that meeting, that    5   BY MR. GEORGE:
 6   second one, where you discussed the substance of       6       Q. So, Mr. Waldie, are you aware that
 7   this matter with him on a feeling about his            7   Mr. La Mattina as far back as 2020 knew that bills
 8   credibility? Not about whether he gave you a fact      8   weren't being paid at NRIA?
 9   that you could verify.                                 9       A. That's not a question I asked.
10       A. I did not have a -- a feeling on his           10       Q. I didn't ask you whether you asked it.
11   credibility. I thought when we asked him a            11   I said, were you aware of that?
12   question he gave us what he thought the answer was.   12       A. If I didn't ask it, how would I be aware
13       Q. Okay. Was he involved in the Ponzi             13   of it?
14   scheme?                                               14       Q. There is a lot of ways you can become
15          MS. LASLEY: Ob -- objection. And to            15   aware of things, sir, without asking a question.
16   the extent that this is the work product that -- of   16   I'm asking you. If you're not aware, just say
17   counsel, I would instruct you not to answer.          17   you're not aware.
18          MR. GEORGE: Well, that -- that's               18       A. I know that he said that without
19   inappropriate because --                              19   investor money coming in they could not have paid
20          MS. LASLEY: It's not inappropriate. He         20   bills.
21   is -- Mr. -- Mr. Waldie is our expert.                21       Q. And you know that in spite of knowing
22          MR. GEORGE: Yeah.                              22   that the debtor wasn't paying its bill, he -- its
23          MS. LASLEY: He's the expert in this            23   bills, he never went to Nick and Ray and said, hey,
24   case. He is also a consulting expert over -- in       24   we should stop advertising, we're not paying our
25   the overall investigation. You're now asking          25   bills; are you aware of that?
                                               Page 64                                                     Page 65
 1       A. I'm aware of that happening with a lot          1       A. No. They were paying his bills.
 2   of people in this case, including your client.         2       Q. Okay. Are you aware that he went to
 3       Q. Oh, my client went to the debtor and            3   them and said, you're not paying anybody else's
 4   said you're not paying your bills?                     4   bills?
 5       A. No, but he -- he got questioned                 5       A. I don't think he was worried about
 6   regarding the legitimacy of the ads and he --          6   anybody but himself.
 7       Q. So --                                           7       Q. Okay. Do you know whether he was aware
 8       A. -- didn't go to them and say why --             8   that they were not paying their other bills?
 9       Q. Well, I'm going to move to strike that          9       A. I don't know what he was aware of.
10   because it's not responsive.                          10       Q. Okay.
11           MS. LASLEY: You're going to let him           11           MS. LASLEY: Okay. Counsel, can we take
12   finish. First of all, you're going to let him         12   a brief five-minute break?
13   finish answering and then you can do whatever you     13           MR. GEORGE: Sure.
14   want.                                                 14           MS. LASLEY: Thanks.
15           MR. GEORGE: Can you read the question         15           THE VIDEOGRAPHER: We're going off
16   back to him so he can answer the question I asked?    16   record. The time is 11:08 a.m.
17                  - - -                                  17           (Whereupon, a short break was taken.)
18           (Whereupon, the pertinent portion of the      18           THE VIDEOGRAPHER: We are back on record
19   record was read.)                                     19   at 11:20 a.m.
20                  - - -                                  20            Counsel, proceed.
21   BY MR. GEORGE:                                        21           MR. GEORGE: Thank you, sir.
22       Q. Right. Did my client go to the debtor          22           THE VIDEOGRAPHER: You're welcome.
23   and indicate that he had a concern that they          23   BY MR. GEORGE:
24   weren't paying bills, are you aware of that as a      24       Q. Mr. Waldie, we're going to show you
25   fact?                                                 25   Exhibit Number 1, your declaration.




                                                                                    17 (Pages 62 to 65)
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 1       A. Okay.                                           1   script written by Javier Torres?
 2       Q. Mr. Waldie, in Paragraph 25 of that             2      A. An original, no.
 3   document you talk about advertising scripts. Let's     3      Q. Have you ever seen a script revision
 4   go to that, if you will. Do you see that?              4   that wasn't either connected to or prompted by a
 5       A. Yes.                                            5   request by the advertiser to either shorten the
 6       Q. And you said that, "Torres advised NRIA         6   time period or to remove information that the
 7   that they needed to eliminate a sentence in the        7   advertiser didn't want to see in the ad?
 8   script and suggested removing the wording your         8      A. Yeah, I've seen where they said they
 9   apartment building secured."                           9   were not comfortable with the 10 percent guarantee
10            Do you see that?                             10   and where Mr. Torres said we need to do a formal
11       A. Yes.                                           11   response and wrote the response that they thought
12       Q. Now, do you know whether he chose that         12   they would have to send in order to make that
13   for any particular reason or whether that was just    13   particular endorser comfortable.
14   a function of the fact that it exceeded the time      14      Q. So he was merely passing on the
15   limit?                                                15   information from that endorser to -- to NRIA,
16       A. It appears because it exceeded the time        16   right?
17   limit.                                                17      A. Pass it on from the endorser and then
18       Q. Okay. And you don't have any evidence          18   gave the suggested response.
19   or facts to suggest that the original advertisement   19      Q. Okay. And Nick Salzano was the one who
20   that needed amended was drafted by Javier or Media    20   approved that response, right? There's an e-mail
21   Effective, do you, the one that we're talking about   21   there where he says, TY. I assume that's thank
22   in 25, your apartment building secured?               22   you, right?
23       A. Not on this one, no.                           23      A. On -- on which one are you talking
24       Q. Okay. And with respect to any changes          24   about?
25   to the scripts, have you ever seen an original        25      Q. Well, let's -- let's -- let's go to one
                                               Page 68                                                     Page 69
 1   here. Hold on.                                         1   BY MR. GEORGE:
 2      A. I don't believe it's in here.                    2       Q. And you see he's sending them a script
 3      Q. Yeah, I'll -- I'll get it. Hold on.              3   or an e-mail and saying, "Sending two
 4           MR. GEORGE: Let's go to Exhibit                4   revised/approved; 60 second spots to all stations
 5   Number-2, Bill.                                        5   all markets for replacement and 50/50 rotation. On
 6   BY MR. GEORGE:                                         6   30: I need to eliminate one sentence with four or
 7      Q. Do you see that, sir?                            7   more words at least, from the below copy. Can we
 8      A. TY?                                              8   eliminate?"
 9      Q. Yeah.                                            9            So he's asking Nick which one of those
10      A. Yeah.                                           10   line is Nick okay with removing; isn't he?
11           MR. GEORGE: Can we go to the end of it,       11       A. Yes.
12   Bill, please. Hold it a little bit.                   12       Q. Okay. You don't see one where he says,
13   BY MR. GEORGE:                                        13   well, we shouldn't take this out because this
14      Q. So do you see this e-mail, sir?                 14   wouldn't give the message that we're giving 12
15            Go up a little bit more, Bill.               15   percent return, you don't see any e-mails like
16      A. Yes.                                            16   that, do you?
17      Q. And the -- what Javier is doing there is        17       A. Well, I see e-mails, for example --
18   showing Nicholas what's in each line of the add,      18       Q. Sir, answer the question.
19   right? Do you see it has one is on the next page      19       A. I tried.
20   back, do you see it has -- go ahead, Bill.            20       Q. No. Did you see any e-mails where he
21            Do you see, attention investors is           21   said that we don't want to eliminate this because
22   Number 1? So these are the lines that are the         22   we won't be able to say there's 12 percent; did you
23   lines from the script, right?                         23   see him do that?
24      A. Yes.                                            24       A. Those exact words, no.
25           MR. GEORGE: And go up, Bill.                  25           MR. GEORGE: Okay. Let's go to Number




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 1   3, Bill.                                               1       Q. Did you ever see any scripts where
 2   BY MR. GEORGE:                                         2   Mr. Torres was making the decision to either delete
 3       Q. Can you see a Number 3, sir, do you see         3   or remove or edit that wasn't prompted by a request
 4   here he says --                                        4   from the advertiser?
 5            Bill, you getting it?                         5       A. He made suggestions. They approved it.
 6            He says, "The 30 spot is still too            6       Q. Did you see any evidence of Mr. Torres
 7   long. Attached is also doc with time                   7   trying to move any money, for example, out of the
 8   measurements."                                         8   country after the subpoenas were issued?
 9            Do you see that?                              9       A. We saw payments to family members.
10       A. Yes.                                           10       Q. Okay. But did you ever see him try to
11       Q. So he's providing this to NRIA for their       11   move money in bulk from himself to himself in
12   approval, right?                                      12   another country like Colombia?
13       A. Yes.                                           13       A. Not in another country.
14           MR. GEORGE: Go down, Bill.                    14          MR. GEORGE: Okay. So, sir, can we go
15   BY MR. GEORGE:                                        15   now to Number 9. I have to slide a little closer
16       Q. And then Nick says to him, hey, sorry          16   because my eyes are so bad.
17   but we have to record the line in green on the        17          MR. SALDUTTI: We can try to make it
18   attached 60 seconds script.                           18   bigger.
19            So that's Nick writing to Javier and         19          MR. GEORGE: No, that's okay.
20   saying this is a line I don't want to take out,       20   BY MR. GEORGE:
21   right?                                                21       Q. So, Mr. Waldie, can you tell me what
22       A. Yes.                                           22   this document is?
23           MR. GEORGE: Go to Number 4. Bill,             23       A. Yes. This is what I was talking about
24   again, can you go to the --                           24   before, that based on a cash balance analysis. Not
25   BY MR. GEORGE:                                        25   an insolvency analysis. There's a difference. And
                                                Page 72                                                   Page 73
 1   it -- it appear -- based -- this -- this graph will    1       A. Well, it -- it's very close. It's not
 2   show the departure in or about November 2017.          2   for, and I'm -- if I remember correctly on this
 3   Where if not for new investor contributions NRIA       3   one, there was a couple of small like 85,000 or
 4   would not be able to meet their current debt           4   100,000 round dollar transfers from US Construction
 5   obligations. If you take into account investor         5   that came in at that time where they were under
 6   contributions not directly to them, but through        6   water. And there was a lot of money what moved
 7   third parties like a title company, etcetera, that     7   back and forth on verbal agreements and so-called
 8   date moves back to in or about the January of 2016     8   loans and so forth. That's part of our ongoing
 9   date. That's what I was talking about before when      9   analysis, that if not for that deposit, they
10   I say based on the cash, an inability to pay debts.   10   would -- they would have been at zero on 1/16.
11   Not a full analysis of insolvency now. It appears     11       Q. So they had other money that was in the
12   based on this that they may have been insolvent as    12   form of loans that they had made to US Construction
13   early as 2016.                                        13   that wouldn't have been cash, that would have been
14       Q. May have been. So what's that solid            14   an asset is what you're saying, right?
15   line in the middle?                                   15       A. Well, it's purported loans. There was a
16       A. That's just a zero. That's -- that's           16   lot of money back and forth for inexplicable
17   zero cash balance in the banks so --                  17   reasons. There were alleged verbal agreements on
18       Q. And did they start in 2016 with zero in        18   paying debts for them that there was no additional
19   the banks?                                            19   proof for, to the tune of about 5 million dollars.
20       A. We started our timeline from '16               20   There was a lot of co-mingling and -- and fraud
21   forward.                                              21   going on. We had to adjust, too, for true bank
22       Q. Did it have -- did they have zero in the       22   balances because when we got subpoenas back from
23   bank in 2016?                                         23   one of the financial institutions we noticed that
24       A. Based --                                       24   the numbers didn't match what we got from the
25       Q. That's what this shows, right?                 25   debtors and it was a pretty good fake. So we -- we




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 1   looked at the bank statements. The bank statements     1       Q. That's a zero?
 2   had been altered to increase their cash position,      2       A. Yeah. The ax -- the axis runs at zero.
 3   which in effect made the financial statements          3   The black line would be including investor
 4   inflate cash value because the bank statements that    4   contributions. The red line would be the cash
 5   they had were fictitious. They altered the             5   position if they were removed.
 6   originals.                                             6       Q. And so you're making reference to M-9 --
 7       Q. You're saying --                                7   M-17 as the date when the actual cash position
 8       A. It's not something that a company that's        8   drops below the baseline?
 9   strong on cash needs to do in order to borrow          9       A. With direct contributions.
10   money, or get money or sustain operations.            10       Q. Okay. And did --
11       Q. When did they start altering bank              11       A. 30 to 38 million in direct
12   statements?                                           12   contributions.
13       A. The first ones we found were in 2018.          13       Q. And --
14   We found them again in 2019.                          14       A. After that it goes back to 16. And even
15       Q. Do you have any evidence or facts to           15   with this, it would still drop, if not for a couple
16   indicate that Mr. Torres was aware that the debtor    16   of those questionable transactions that I --
17   was fabricating or fraudulently creating financial    17       Q. Now, are you aware that there was
18   documents?                                            18   discovery proffered to the Trustee and their
19       A. On -- on that, no.                             19   indication was that the debtor stopped paying its
20       Q. Okay. So then let me just go back to           20   bills when they came due in Nov -- in November in
21   this line, sir. And I'm sorry I'm going to get up     21   2019?
22   here a little bit. But it shows -- is that number     22       A. That they stopped paying their bills?
23   in the middle a five or a zero between the            23       Q. Yeah, that they stopped paying their
24   110 million above and the 110 million below?          24   bills when they came due or were unable to pay
25       A. It's a zero.                                   25   their bills when they came due in November of '19?
                                                Page 76                                                    Page 77
 1      A. I think that is they're unable to meet           1       Q. -- have mortgages?
 2   current or short-term obligations without investor     2       A. The -- the balance sheet test is
 3   funds, new investor funds.                             3   ongoing, if -- if that's where you're going as far
 4      Q. In November of '19?                              4   as trying to understand property values at a given
 5      A. Well, also in November of 2019, but              5   time, mortgages at a given time. The historic --
 6   prior to that, too.                                    6   the historical data -- data is not year over year.
 7      Q. Okay. And in determining what kind of            7   That's what we're reconstructing now. And the
 8   obligations they had to pay at this time, how did      8   financial statements that we got, even though there
 9   you determine that?                                    9   was a compilation of they were not audited, are --
10      A. We -- I -- I told you. We took the cash         10   and some years were inaccurate for certain reasons
11   position day over day for all bank accounts           11   like false bank statements and so forth increasing
12   combined. This isn't just one account, or their       12   their cash position. And -- and other items that
13   main account, or their operating account. It's not    13   we're vetting now trying to untangle -- untangle
14   the 1872 main operating. It's all accounts.           14   this fraudulent enterprise.
15   There's like 55 bank accounts at the time. And we     15       Q. So sitting here today, you don't know
16   peeled out the investor piece of that to see if       16   what the actual current obligations were in
17   NRIA would be able to meet its obligations and        17   November of '17?
18   without it, they can't.                               18       A. Correct.
19      Q. Okay. What I'm asking is about -- I'm           19       Q. And when the money came into the
20   not asking about the cash side. I'm asking about      20   debtor's accounts, was that the debtor's money?
21   the obligation side. What obligations did NRIA        21       A. When it came in?
22   have to pay at that period in November of '17?        22       Q. Yeah.
23      A. I don't know off the top of my head.            23       A. Well, it was investors investing in that
24      Q. Well, did they have --                          24   money, but the money was being used for other
25      A. The --                                          25   things.




                                                                                    20 (Pages 74 to 77)
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 1        Q. Right.                                         1   Reporter?
 2        A. They looted the account. They diverted         2           COURT REPORTER: Sure. Let me find the
 3   it for extravagant expenses buying cars, buying        3   original question.
 4   houses, using what should have been an investment      4           MR. GEORGE: Oh, never mind. I remember
 5   in one project for another project. There was a        5   it.
 6   pattern of failed real estate here where they were     6           COURT REPORTER: Okay. Are you sure?
 7   purporting to be successful and selling at these       7           MR. GEORGE: I've got it. Yes.
 8   profits where most of the properties were at a         8   BY MR. GEORGE:
 9   loss. Meanwhile, they're offering these to be --       9       Q. Mr. Waldie, was there any kind of
10   too good to be true guaranteed returns of 10 and      10   documentation within the company that required the
11   maybe even up to 24 percent throwing an enticement    11   debtor to separately segregate the money that was
12   to try and keep people in the fund. So there would    12   being paid in by the investors?
13   be a make whole agreement. There would be, you        13       A. On some of the deals, yeah.
14   know, a buyback agreement. And then they put a --     14       Q. There were?
15   put a kicker in so when the money rolled in there     15       A. Yeah.
16   was no true value with it. They're rolling phantom    16       Q. And so when you did this chart, did you
17   equity in doing whatever it took to keep people in    17   -- how did you treat money that was segregated and
18   because they knew if they redeemed that, they --      18   set aside and not part of the debtor's money?
19   their business could collapse. It's -- it's --        19       A. It was never set aside. It was supposed
20   it's seen all the time in a Ponzi scheme. It's        20   to be set aside, but it was co-mingled.
21   just the way it works.                                21       Q. Oh, it was co-mingled.
22        Q. Okay. And now I want you to try to            22       A. And used wherever they needed to use it.
23   answer the question that I asked you because I        23   They had entity accounts set up as flowthroughs
24   think it was a little bit different than that.        24   where all of the money that would go in for a
25            Can you read the question back,              25   particular entity to all go back through this back
                                                 Page 80                                                  Page 81
 1   into NRIA and they used it wherever they wanted.       1       Q. Well, apparently 660 million dollars
 2   Not necessarily in connection with the investment      2   worth of funds from thousands of people didn't
 3   that it was -- that it was told it was for.            3   demonstrate that clearly, right?
 4       Q. What I'm really trying to -- what I'm           4       A. Well, they -- you know, they -- they got
 5   really trying to get at, sir, is, that with respect    5   enticed with all of the things that fraudsters do.
 6   to the majority of the funds that came in from         6   Nick Salzano is a career criminal. It's not the
 7   investors, they weren't separately segregated, they    7   first time he's done this.
 8   were co-mingled with the debtor's monies, right?       8       Q. Well --
 9       A. Yup.                                            9       A. If you're looking him up, you would have
10       Q. And those monies, those co-mingled             10   seen it, if you've done any kind of diligence on
11   monies did allow that debtor to continue to pay its   11   him. People didn't do it. You know, I'm not
12   -- its bills for a significant period of time,        12   faulting them for it. They didn't do it. You
13   right?                                                13   know, what was it? You know, they wanted to
14       A. Only with investor money.                      14   believe what they heard, vendors that got involved
15       Q. Understood.                                    15   with him, was it willful blindness on their part or
16             But there was nothing that required         16   their own greed to make money? All that comes into
17   them to separate that money and hold it out for the   17   play.
18   investors, right? It was the debtor's money once      18       Q. Do you know whether your firm or you or
19   it went into the debtor's bank account, right?        19   your team went through Glenn La Mattina's e-mails?
20       A. Well, they purported to have, you know,        20       A. I did not go through Glenn's e-mails.
21   this big cash position and success and revenue        21       Q. Did anybody on your team?
22   coming in, but they didn't. They only had investor    22       A. Only if, you know, because work e-mails
23   money. It wasn't a real -- it wasn't a legitimate     23   I don't know if we looked at his e-mails. I -- I'd
24   business. And anybody looking at the offerings        24   be lying to you if I said I know that was one. We
25   would have known that.                                25   -- we -- we've got millions of documents in there




                                                                                    21 (Pages 78 to 81)
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 1   and we do do e-mail searches and go through, do key    1   do like asset tracing and things like that in
 2   word searches. His name would have come up in          2   looking at various targets across the board.
 3   certain things where it popped on something, but I     3      Q. But, sir, what I'm asking you, because
 4   don't know if we specifically did e-mail review        4   Mr. La Mattina provided a declaration that was
 5   targeting him.                                         5   patently false in this case and what I'm asking is,
 6      Q. Well, he was the chief operating                 6   what investigation did Alvarez do to try to
 7   officer, right?                                        7   determine what kind of facts Mr. La Mattina was
 8      A. At one point, yeah.                              8   actually in possession of before that declaration
 9      Q. Okay. And you're telling me the chief            9   was drafted?
10   operating officer of a Ponzi scheme, nobody from      10      A. Mr. La Mattina was interviewed and told
11   your firm, Alvarez, sat down and looked at his        11   us the answers to his questions. What he did in
12   e-mails?                                              12   his deposition was as surprising to us as it was to
13      A. Well, we're -- we're -- we're trying to         13   you.
14   spend investor's money wisely where we think we'll    14      Q. And what I'm asking you is, you know
15   get a return for the buck. Right.                     15   that this is a Ponzi scheme at this time, sir, in
16      Q. Is that why there's four lawyers --             16   January, right?
17      A. There's not --                                  17      A. Yep.
18      Q. -- at every deposition?                         18      Q. You know that he's the chief operating
19      A. What?                                           19   officer of that Ponzi scheme, right?
20      Q. Is that why there's four lawyers at             20      A. Yup.
21   every deposition, you're trying to save investors     21      Q. And you sat down in a meeting and he
22   money?                                                22   blindly says, well, that sounds right and you guys
23      A. I'm looking at we're -- we're not               23   put it in a declaration, didn't you?
24   prosecuting a criminal case here. That's the FBI.     24           MS. LASLEY: Object to form.
25   What we're looking at are causes of action. We did    25   Mischaracterizes what happened.
                                               Page 84                                                      Page 85
 1           MR. GEORGE: That's fine.                       1      Q. You had no reason to look. The guy is
 2           THE WITNESS: I didn't put --                   2   running a Ponzi scheme --
 3   BY MR. GEORGE:                                         3      A. No, he's --
 4       Q. Didn't you?                                     4      Q. -- and he's lying to you left and right
 5       A. I didn't put anything in the                    5   about what he did and you had no reason to look in
 6   declaration.                                           6   his e-mails to confirm whether factually what he
 7       Q. Well, your team, the Trustee's team?            7   was saying was right --
 8           MS. LASLEY: Objection. Again, object           8      A. Well, we looked at --
 9   to form.                                               9      Q. -- that's your position, sir, as an FBI
10   BY MR. GEORGE:                                        10   agent?
11       Q. And if you would have reviewed those           11      A. We looked at his documents regarding the
12   e-mails, maybe you would have seen that what he was   12   campaign contributions he said he made, which he
13   telling you wasn't the truth, right?                  13   did. We looked at the leads that they were paying
14           MS. LASLEY: Again, object to form.            14   for and disguising commissions, which was true. We
15           MR. GEORGE: That's fine.                      15   looked at other things that panned out as well.
16           THE WITNESS: Not necessarily.                 16   Did we look at every single thing? Again, we did
17   BY MR. GEORGE:                                        17   inter -- we interviewed him. He gave a
18       Q. Well, not -- but you don't know because        18   declaration. His declaration was edited by him and
19   you didn't look, did you?                             19   submitted and sworn by him. We don't tell people
20           MS. LASLEY: Again, mischaracterizes his       20   what to say or what to do. I've never done that in
21   testimony.                                            21   my career. Good, bad and indifferent, the evidence
22           MR. GEORGE: Come on.                          22   is what the evidence is.
23           THE WITNESS: We had -- we had no reason       23      Q. You said he was making contributions?
24   to look.                                              24      A. Correct. He was one of several.
25   BY MR. GEORGE:                                        25      Q. And who was he making those




                                                                                     22 (Pages 82 to 85)
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 1   contributions to, politicians?                         1   discuss, you know, what our -- what our ongoing
 2       A. Politicians in Florida.                         2   process is.
 3       Q. And he was doing it on behalf of Nick?          3       Q. I didn't ask what the ongoing process
 4       A. Doing it on behalf of NRIA and getting          4   was. I asked if you were aware of a pending
 5   reimbursed in cash.                                    5   lawsuit against those criminals that took money
 6       Q. Well, he was doing it on behalf of Nick         6   from these investors disguised as contributions?
 7   and NRIA, right?                                       7       A. How do you know they're criminals?
 8       A. Yes.                                            8       Q. You don't think someone who takes an
 9       Q. Were those payments to those politicians        9   illegal campaign contribution is a criminal?
10   illegal?                                              10       A. How do you know it was in their eyes an
11       A. I don't know.                                  11   illegal campaign contribution?
12       Q. Well, what were they for?                      12       Q. Oh, in their eyes. So it matters in
13       A. I don't know.                                  13   their eyes, right?
14       Q. Did anybody at the Trustee's office try        14       A. Well, if it was a contribution coming
15   to sue those politicians to recover those             15   from a company. I have no evidence to show that
16   contributions?                                        16   the politician knew that the people giving -- or
17           MS. LASLEY: Objection. Work product.          17   individual that they were getting reimbursed.
18   Instruct you not to answer.                           18       Q. Were they cash --
19   BY MR. GEORGE:                                        19       A. And the NRIA knew that and they knew it
20       Q. Are you aware of the filing of any             20   was illegal, but I don't know if the politician
21   lawsuit against those politicians to recover those    21   knew that at this juncture.
22   monies?                                               22       Q. Were they cash?
23       A. We have a lot of things going on right         23       A. They were checks and then reimbursed in
24   now, so as far as what we're doing, who we're         24   cash.
25   targeting or how it's going, I'm not going to         25       Q. What does that mean?
                                                Page 88                                                   Page 89
 1      A. Glenn La Mattina wrote a check for a             1           MS. LASLEY: Objection. Instruct you --
 2   thousand dollars, donated to the campaign --           2   objection. Work product. Instruct you not to
 3      Q. His own check?                                   3   answer.
 4          MS. LASLEY: Would you let him answer?           4           MR. GEORGE: That's not work product to
 5          THE WITNESS: There's campaign                   5   get --
 6   contribution limits, if you -- if you understand       6           MS. LASLEY: It is.
 7   how --                                                 7           MR. GEORGE: -- his assessment. No,
 8   BY MR. GEORGE:                                         8   it's not.
 9      Q. I know how it works.                             9           MS. LASLEY: You are getting into the
10      A. -- the way the corruption works. Right.         10   facts regarding an investigation into another
11   So there's limits depending on where it is. It        11   target of this litigation involved in the overall
12   could be a limit per individual. So to circumvent     12   broad litigation. That is our work product. You
13   the limits NRIA had employees write checks. So        13   cannot get into that. I will not allow him to
14   individual checks were given to the politician.       14   testify about that.
15   They were told, the people writing the check, like    15           MR. GEORGE: Okay. That's fine.
16   Glenn and others, that they would be reimbursed in    16   BY MR. GEORGE:
17   cash. They knew what they were --                     17        Q. Do you know of any facts that you can
18      Q. Sir --                                          18   reveal to us today, other than what you've
19      A. -- doing was wrong. I don't have                19   discovered in your investigation, to indicate that
20   evidence to know what the conversations were with     20   Mr. La Mattina did not know that those were illegal
21   that politician to know that it wasn't an             21   contributions?
22   individual con -- contribution.                       22           MS. LASLEY: Same objection. Same
23      Q. Well, when you -- when you were talking         23   instruction.
24   to Glenn La Mattina, did you come to any conclusion   24   BY MR. GEORGE:
25   about whether he knew it was wrong?                   25        Q. You are willing to say that you




                                                                                    23 (Pages 86 to 89)
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 1   understand that the debtor was trying to circumvent    1   now.
 2   the campaign contribution rules by using employees,    2       Q. Well, do you see here that Javier is
 3   that you've stated, right?                             3   writing the company and saying that he's beating
 4       A. That's by assumption.                           4   Tanvi's rate by 50 percent?
 5       Q. And Mr. La Mattina was one of those             5       A. I see Javier is writing --
 6   employees, right?                                      6       Q. By 100 percent?
 7       A. Yes.                                            7       A. I see Javier is writing that.
 8       Q. And he was the COO of the largest Ponzi         8       Q. Were you aware that there were other
 9   scheme ever to hit New Jersey, right?                  9   vendors who were charging more than Javier for the
10       A. He was the COO.                                10   ad time that he was selling?
11       Q. Of the largest Ponzi scheme that ever          11       A. As -- as far as this particular one?
12   hit the State of New Jersey, right?                   12       Q. Yeah. Anywhere?
13       A. Is it?                                         13       A. I -- I see Javier is claiming he's half
14       Q. You stated that in your papers, that was       14   of this rate on this particular one. Outside of
15   over 660 million. Do you know of a bigger one?        15   that, that's all I see.
16       A. I don't off the top of my head, but I --       16       Q. Well, do you have any reason to believe
17   I don't know that it's the biggest one.               17   that he didn't present that, book it and deliver
18       Q. Let's go to Number 13. Have you ever           18   it, do you have any reason to -- to think that that
19   seen this e-mail before?                              19   didn't happen?
20       A. No.                                            20       A. I've seen other things where he was
21       Q. Never?                                         21   misleading and lied to NRIA.
22       A. Maybe. I've looked at so many e-mails.         22       Q. I didn't ask you that.
23   It's not -- it's not jumping out at me.               23       A. I can't say that --
24       Q. Have you ever seen this, sir?                  24       Q. Sir, that's not what I asked.
25       A. I don't recall seeing it, but I see it         25       A. You want me to make an assumption now
                                                Page 92                                                   Page 93
 1   I'm not prepared to make based on the track record     1       Q. Do you know whether she was responsible
 2   I've seen with him.                                    2   for filming the commercials?
 3       Q. I'm saying, have you seen anything to           3           MS. LASLEY: Object to form.
 4   indicate that that wasn't booked? That's all I'm       4   BY MR. GEORGE:
 5   asking you.                                            5       Q. The advertisements, do you know --
 6       A. I see it was his claim. That's it.              6       A. I know she was doing internal
 7       Q. That was it. So you haven't seen                7   advertising for -- for them.
 8   anything to indicate that it wasn't booked?            8       Q. Do you know whether she was helping to
 9       A. I don't -- I have no idea if it was or          9   write the scripts?
10   wasn't booked.                                        10       A. She was.
11       Q. I asked you, you haven't seen anything?        11       Q. She was?
12   That doesn't mean whether it was or wasn't. I'm       12       A. She -- yeah.
13   asking whether you've seen anything?                  13       Q. Has the Trustee sued her for aiding and
14       A. Not that I recall.                             14   abetting in the securities fraud for helping write
15          MS. LASLEY: Answered.                          15   those scripts, to your knowledge?
16   BY MR. GEORGE:                                        16       A. To date, I don't know that that's
17       Q. Do you know Katey Kana?                        17   happened.
18       A. Yup. Well, yes.                                18       Q. Do you have any evidence that Dora
19       Q. How do you know her?                           19   Dillman was involved in any way in NRIA business --
20       A. I interviewed her.                             20   or in Media Effective business?
21       Q. What was her position at NRIA?                 21       A. Other than being Javier's wife, maybe
22       A. I forget her exact title, but she was          22   dropping off or picking up checks, no.
23   brought as in-house advertising.                      23       Q. Did you ever see any competitive bid
24       Q. Was she the director of media?                 24   analysis that may have been performed by Katey
25       A. Possibly, yeah.                                25   Kana?




                                                                                    24 (Pages 90 to 93)
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 1      A. No.                                             1      Q. I don't know if the reporter heard or
 2      Q. Did she ever tell you that she was              2   not.
 3   performing competitive bid analyses?                  3      A. These are -- these are approximates.
 4      A. Not that I recall.                              4   There's about 120 -- there's about 520 million
 5      Q. Do you know what happened to all of the         5   dollars in claims, investor claims. There's --
 6   real estate that was owned by NRIA?                   6   estimated there's a range, but if you take the
 7      A. Their -- the debtor is currently in the         7   average, estimated about 160 million dollars in
 8   process of trying to sell it.                         8   projected real estate sales over time. And it
 9      Q. You mean the debtor or the Trustee?             9   leaves about a 360 million dollar hold that the
10      A. The Trust. The trust. There's a                10   investors would still be out.
11   360 million dollar hole that needs to be filled.     11      Q. Do you know how much Alvarez has charged
12      Q. And has Alvarez done any calculations of       12   so far in this case?
13   what the value of the real estate is?                13      A. Probably about 8 million.
14      A. Estimated right now average is probably        14      Q. 8 million dollars, and has it been paid
15   going to be about 160 million. So --                 15   that money?
16      Q. 160 million?                                   16      A. It's been paid, except for whatever the
17      A. Yeah. So you have about 520 million in         17   most current invoice is.
18   claims. They think they're going to get in maybe     18      Q. Is Alvarez being paid monthly?
19   between 130 and --                                   19      A. Yes.
20      Q. Can -- sir, I can't hear you. Can you          20      Q. And how many Alvarez employees are on
21   keep your voice up a little bit?                     21   this engagement?
22      A. Yes.                                           22      A. Less than you would think. I don't
23      Q. I'm sorry. I -- I just couldn't hear           23   know.
24   you there, that last.                                24      Q. Nothing would surprise me.
25      A. Yeah.                                          25      A. I'm talking my team. There's -- there's
                                               Page 96                                                   Page 97
 1   three different groups, right. There's a real         1   Outside of that, I don't say he was part of the
 2   estate team. There's a restructuring team. I          2   inner circle.
 3   don't know how many are on from those teams. And      3      Q. That he was close with who, Nick?
 4   then there's the disputes and investigations team     4      A. Nick.
 5   which has maybe six or eight people.                  5      Q. Was Glenn La Mattina close with Nick?
 6      Q. Okay.                                           6      A. Not particularly.
 7      A. So the -- the fee apps are public. You          7      Q. Do you know if Glenn La Mattina had any
 8   can see how many people are on them. They're          8   kind of meretricious relationship with Tanvi
 9   approved by the Court. We had a fee examiner. So      9   Chandra?
10   --                                                   10          MS. LASLEY: Objection.
11      Q. Right.                                         11          THE WITNESS: I -- I found out recently.
12      A. -- you can go to the docket and -- and         12   BY MR. GEORGE:
13   get all these answers.                               13      Q. What did you find out?
14      Q. About 20 employees of Alvarez working on       14      A. Yesterday. The day before, I mean.
15   this file?                                           15      Q. Were they in a physical relationship?
16      A. Well, you're talking at certain times.         16      A. That's what I'm told.
17   There's less restructuring in real estate now, so    17      Q. Which might be the reason why
18   probably, no. And you know, so it depends on the     18   Mr. La Mattina wants to bang on Mr. Torres, right,
19   point in time how many we have, what's going on,     19   because his girlfriend got business taken from her,
20   how busy things are, what's -- what's on the front   20   right?
21   burner.                                              21          MS. LASLEY: Objection. Calls for
22      Q. Do you have any facts that you                 22   speculation.
23   discovered that would establish that Javier was      23   BY MR. GEORGE:
24   part of the inner circle at NRIA?                    24      Q. Well, you're an FBI agent, sir. You
25      A. Only employees saying they were close.         25   know about motivations, right, you know what an MO




                                                                                   25 (Pages 94 to 97)
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 1   is, right?                                             1   to the Trustee's case.
 2        A. Mr. Torres was on our radar long               2          THE WITNESS: Can you ask the question
 3   before N --                                            3   again?
 4        Q. That's not what I asked you, sir.              4   BY MR. GEORGE:
 5   That's not what I asked you.                           5       Q. Mr. La Mattina is sleeping with Tanvi
 6           MS. LASLEY: You need to let him answer         6   Chandra, right?
 7   the question.                                          7          MS. LASLEY: Presently?
 8           MR. GEORGE: He wasn't answering it.            8   BY MR. GEORGE:
 9           MS. LASLEY: You didn't --                      9       Q. You know that as a fact, don't you?
10           MR. GEORGE: Answer the question I             10       A. I know that secondhand that at one point
11   asked.                                                11   they had an affair.
12           MS. LASLEY: You may not like the              12       Q. How did you learn that?
13   answer, but he gets to answer it. There's a           13       A. Counsel.
14   process by which you ask the question, he answers     14       Q. This is the game this trustee is
15   it, then you can follow-up.                           15   playing.
16           MR. GEORGE: He has to be responsive.          16       A. It's not a game. It's the truth.
17           MS. LASLEY: That's the way --                 17       Q. You're not suggesting that no part of
18           MR. GEORGE: He's not supposed to              18   the money that Mr. Torres earned or Media Effective
19   narrate and he's not supposed to editorialize.        19   earned in providing these advertises -- advertising
20   He's supposed to answer the question. And I'm not     20   can be retained by Mr. Torres, right, or Media
21   going to let him use my record to spout stuff that    21   Effective, are you?
22   he says that has no support, factually or             22          MS. LASLEY: Objection. Outside the
23   otherwise. So he can answer the question or not,      23   scope.
24   but he can't sit there and spout off what he wants    24          THE WITNESS: Okay. I'm sorry. Can you
25   to get on the record because he thinks it's helpful   25   repeat that, please?
                                               Page 100                                                  Page 101
 1   BY MR. GEORGE:                                         1       A. -- 100,000 a year versus paying him
 2      Q. Yes. If the -- if the margin was                 2   millions of dollars.
 3   supposed to be 15 percent and he charged 25 or 30,     3       Q. So if -- if Nick Salzano wanted to hire
 4   are you saying he shouldn't even get the 15            4   Michael Vagnoni, for example, my partner, he could
 5   percent?                                               5   go in and do what Javier Torres was doing?
 6      A. I'm saying that the money he was paid            6       A. Make a phone call to Hybrid Media,
 7   wasn't commensurate with the services he purported     7   probably.
 8   to provide.                                            8       Q. Oh, that's how easy you think it is?
 9      Q. Okay. And how much more do you think             9   That's how easy you think it is, just pick up the
10   Mr. Torres got than he should have gotten?            10   phone and call? Nothing else has to be done?
11      A. Well, the work that he claims he does on        11       A. Not much.
12   his website and the work he said he was doing for     12       Q. Okay. Well, that's how we feel about a
13   NRIA, he was not. The research being done is to       13   lot of people.
14   what has to go on what ads and so forth was done by   14            Can we take maybe a seven or
15   NRIA, so what I see -- based on what I've seen to     15   eight-minute break? I'm getting close to the end
16   date is he was a middleman, communication that an     16   of the -- the examination, but I need to talk to
17   employee of NRIA making 100 or 200 grand a year       17   Michael and -- and Bill for a couple of minutes, so
18   could have done. So if you take the fact --           18   --
19      Q. What's he talking about?                        19           MS. LASLEY: Sure.
20      A. -- that everything he made over that per        20           MR. GEORGE: So seven or eight minutes
21   year was probably an --                               21   and I'll be right back.
22      Q. He was an employee.                             22           THE WITNESS: Okay.
23      A. He wasn't. I'm saying an employee could         23           THE VIDEOGRAPHER: Going off record.
24   have done what he did for --                          24   This marks the end of media Number 1. The time is
25      Q. Oh, I see.                                      25   12:04 p.m.




                                                                                  26 (Pages 98 to 101)
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 1          (Whereupon, a short break was taken.)          1       A. It was -- everything was paid. That was
 2          THE VIDEOGRAPHER: We are back on               2   -- that's just the timing.
 3   record. This marks the beginning of Media Number      3       Q. Well, he had a loss then of 2,385,599.
 4   2. The time is 12:14 p.m.                             4   Doesn't that mean that NRIA got 3 million dollars
 5           Counsel, proceed.                             5   worth of advertising time and only paid a million,
 6   BY MR. GEORGE:                                        6   one for it?
 7       Q. Thank you.                                     7       A. We haven't seen any unpaid invoices that
 8           Sir, can we go to Number 6, document          8   Mr. Torres has.
 9   Number 6? Is that a document that you created,        9       Q. Well, that's not what I asked you. I
10   sir?                                                 10   asked you --
11       A. My team created it. I reviewed it.            11       A. This -- this is a timing difference. I
12       Q. Okay. I want to focus you on 2022, if         12   can't say that it was money that was not paid.
13   you can. See where that is?                          13   This is a carryover. And if you look at all the
14       A. Yes.                                          14   invoices he submitted, he was paid for all them.
15       Q. How much did NRIA pay to Media Effective      15   Where it lines up on a date if it rolls over based
16   in 2022?                                             16   on timing, that's not material.
17       A. 121 million.                                  17       Q. Not material?
18       Q. I'm sorry?                                    18       A. It's -- you're looking at the total paid
19       A. 1.125 million.                                19   across. He was paid all of his money. And this is
20       Q. And how much did the advertising in 2022      20   an accounting of all of it.
21   cost?                                                21       Q. And so you don't think that reflects a
22       A. 3.5.                                          22   benefit of 2.3 million dollars to NRIA?
23       Q. And, therefore, neither ME or Javier got      23       A. No, because there's no accounts
24   a commission on that 2.385, right, because it        24   receivable. Oh, on -- if he kept books, Mr.
25   wasn't paid?                                         25   Torres' books.
                                              Page 104                                                   Page 105
 1       Q. Was Alvarez the financial advisor for          1   that, that would be false based on what I was told
 2   the committee as well?                                2   by Counsel.
 3       A. Yes.                                           3            MR. GEORGE: Okay. I don't have
 4       Q. And the 8 million dollars that you             4   anything further. Thank you, sir, for cooperating.
 5   mentioned that Alvarez has been paid, does that       5   I appreciate it.
 6   include the time as committee financial advisors?     6            THE WITNESS: Thank you.
 7       A. Yes. And it's an approximate. It's --          7            THE VIDEOGRAPHER: Anybody else have
 8   you know, it's around the 8 million number. So to     8   anything?
 9   my recollection. I don't refute the latest            9            MS. LASLEY: Nothing from me.
10   invoices in a while so -- but, yeah, that's since,   10            MR. GEORGE: Thank you.
11   I believe, July of 2022.                             11            THE VIDEOGRAPHER: We're going off
12       Q. Are you aware that Mr. La Mattina             12   record. Time is 12:18 p.m. This marks the end of
13   testified that he had no relationship with Tanvi     13   Media Number 2 and -- the time is 12:19. This
14   Chandra in his deposition?                           14   marks the end of Media Number 2 and concludes
15           MS. LASLEY: Objection to form.               15   today's deposition.
16           THE WITNESS: No. I was not present at        16            COURT REPORTER: Ms. Lasley, do you need
17   his deposition.                                      17   a transcript?
18   BY MR. GEORGE:                                       18            MS. LASLEY: Yes. And we'd like to get
19       Q. If he were to have testified that he had      19   a rough of this and then expedite the final.
20   no personal relationship with Tanvi Chandra, based   20            COURT REPORTER: Okay. When would you
21   on what you know today, would that be true or        21   like it?
22   false?                                               22            MS. LASLEY: Can you get us the final
23           MS. LASLEY: Object to form. Relevance.       23   by --
24            You can answer.                             24            MR. GEORGE: Monday?
25           THE WITNESS: If -- if he -- if he said       25            MS. LASLEY: Can you get us the final by




                                                                               27 (Pages 102 to 105)
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 1    the end of the day Monday?                            1             CERTIFICATE
 2           COURT REPORTER: Yes, and I'll get you          2
 3    the rough over the weekend.                           3           I, JENNIFER MAUTE, a Notary Public and
 4           MS. LASLEY: Thank you.                         4   Certified Shorthand Reporter of the State of New
                                                            5   Jersey, do hereby certify that prior to the
 5           MR. GEORGE: Thanks, everybody.
                                                            6   commencement of the examination, WILLIAM WALDIE was
 6            And we want it on the same timing.            7   duly sworn by me remotely to testify to the truth,
 7           COURT REPORTER: You want the same, as          8   the whole truth and nothing but the truth.
 8    well?                                                 9           I DO FURTHER CERTIFY that the foregoing
 9           MR. GEORGE: Yes, that's fine.                 10   is a verbatim transcript of the testimony as taken
10    Jennifer. Thank you.                                 11   stenographically by and before me at the time,
11                  - - -                                  12   place and on the date hereinbefore set forth, to
12           (Whereupon, the witness was excused.)         13   the best of my ability.
13                  - - -                                  14           I DO FURTHER CERTIFY that I am neither a
14           (Whereupon, the deposition concluded at       15   relative nor employee nor attorney nor counsel of
15    approximately 12:18 p.m.)                            16   any of the parties to this action, and that I am
16                  - - -                                  17   neither a relative nor employee of such attorney or
17                                                         18   counsel, and that I am not financially interested
                                                           19   in the action.
18                                                         20       _________________________________
19                                                         21       JENNIFER MAUTE, CCR
20                                                                  License No. 30X100227400
21                                                         22       Notary Public, State of New Jersey
22                                                                  My Commission Expires: February 19, 2025
23                                                         23       Date: March 30, 2024
24                                                         24
25                                                         25
                                                Page 108
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